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            antisocial personality disorder are not psychopaths. " 213 Hare pointed out
            that "literature relating the PCL-R to treatment outcome and to the risk
            for recidivism and violence may have little or no relevance for an
            individual with a diagnosis of antisocial personality disorder."214
                 In addition to the issue of a given clinician's competence, another
            important concern raised by Hare involves the potential for inaccurate,
            biased ratings in applied forensic settings, because of "the assessment
            biases [the clinician] may have."215 Hare considers this a serious matter,
            "particularly in jurisdictions ... where it is not uncommon for
            prosecutors and defense lawyers to seek out and retain 'the right
            expert. "'216 Although Hare asserts that the scoring criteria are "quite
            explicit," 217 he has observed that "experts hired by the defense always
            seem to come up with considerably lower PCL-R ratings than do experts
            who work for the prosecution. " 218 This is understandably "of
            considerable concern" to Hare "because a PCL-R rating carries more
            serious implications for the individual and for the public than do most
            psychological assessments." 219
                  A growing literature has also raised concerns that the PCL-R is less
            reliable in field (rather than research) settings, 220 due in part to the
            potential for evaluator bias in PCL-R rating scores. 221 While studies

                213.   !d.
                214.   !d.
                215.   Jd. at 113.
                216.   !d.
                217.   !d.
                218.   !d.
                219.   /d.
                220. Reliability and validiry are critical characteristics of any assessment procedure. Daubert v.
             Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 590 n.9. Reliability refers to the extent to which
             the same PCL~R scores are obtained for a particular individual, regardless of who administers the
             instrument; the expectation is that independent evaluators will obtain the same or similar results. !d.
             Validity refers to the ability of the measuring instrument (for example, the PCL~R) to actually
             measure the property (for example, psychopathy) it is supposed to measure. See id.; Dave DeMatteo
             & John F. Edens, The Role and Relevance of the Psychopathy Check/ist.Revised in Court: A Case
             Law Survey of U.S. Courts {1 99/.1004), 12 PSYCHOL. PUB. POL 'V & L. 214, 214 (2006); Salekin et
             aL, supra note 155, at 204·05.
                 221. See, e.g., Marcus T. Boccaccini ct al., Do Some Evaluators Report Consistently Higher or
             Lower PCL·R Scores than Others?: Findings from a Statewide Sample of Sexuafly Violent Predator
             Evaluations, 14 PSYCHOL. PUB. POL'Y & L. 262, 262 (2008}; Edens et al., lnter·Rater Reliability,
             supra note 181, at 114; Daniel C. Murrie et at., Does lnterrater (Dis)agreement on P~ychopathy
             Checklist Scores in Sexually Violent Predator Trials Suggest Partisan Allegiance in Forensic
             Evaluations?, 32 LAW & HUM. BEHAV. 352, 352 (2008) [hereinafter Murrie ct al., lnterrater];
             Daniel C. Murrie et al., Field Validity of the Psychopathy Checklist·Revised in Sex Offender Risk
             Assessment, 24 PSYCHOL. ASSESSMENT 524, 524 (2012) [hereinafter Murrie et al., Field Validity].
             These results raise critical, provocative questions about the use of the PCL·R in extremely high·
             stakes adversariallegal proceedings such as capital cases. Together, these studies clearly suggest the
             need for caution and further investigation. See John Edens et al., Taking Psychopathy Measures




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                        show strong interrater agreement for PCL-R scores in well-designed
                        research settings, conditions in real world settings differ significantly 222
                        While "forensic psychologists have traditionally assumed that results
                        from well-designed studies generalize to field settings[,] ... recent
                        research suggest[s] this assumption may not be safe." 223 Taken together,
                        these findings raise serious questions about the reliability of the PCL-R
                        in adversariallegal proceedings.
                              "(R]ecent field reliability research suggests that some evaluators
                        assign consistently higher PCL-R scores than others .... " 224 Evaluator
                        bias appears to be attributable to at least two independent sources of
                        error. 225 Several studies suggest that individual differences in evaluators
                        may account for some of the variability in PCL-R scores in forensic
                        proceedings 226 In addition, some PCL-R items are clearly more
                        subjective than others. 227 Although general concerns have been raised
                        about the bias in PCL-R ratings in real-world cases, the inferential
                        personality items (Factor I), thought to be most central to psychopathy,
                        appear to be particularly susceptible. 228 Possible explanations include
                        differences in raters' own subjective thresholds for Factor I items
                        (reflecting interpersonal/affective traits) and differences m how



                         "Out of the Lab" and into the Legal System: Some Practical Concerns, in HANDBOOK OF
                        PSYCHOPATHY AND THE LAW 250 (Kent A Kiehl & Walter P. Sinnot1-Annstrong cds., 2013); see
                        also Cailey S. Miller et al., Reliability of Risk Assessment Measures Used in Sexually Violeni
                        Predator Proceedings, in PSYCHOLOGICAL ASSESSMENT 944,944 (2012).
                            222. Murrie et a!., lmerrater, supra note 221, at 354. For example, most reliability values in
                        the PCL-R literature reflect protocols in which two or more clinicians witness the same interview
                        and review the same collateral materials. !d. at 353. In applied (adversarial) forensic settings,
                        interviews are more often conducted at different points in time, and evaluators may review different
                        materials. !d.
                            223. Murrie eta!., Field Validiry, supra note 221, at 525.
                            224. /d. (citing Boccaccini eta!., supra note 221, at 263).
                            225. Boccaccini eta!., supra note 221, at 276-77; Murrie et al., /nferrater, supra note 221, at
                        357-58; Daniel C. Murrie et al., Ra1er (Dis)agreemenf on Risk Assessment Measures in Sexually
                        Violent Predator Proceedings: Evidence of Adversarial Allegiance in Forensic Evaluation?, !5
                        PSYCHOL. PUB. POL'Y & L. 19, 24 (2009) [hereinafter Murrie et al., Rater (Dis)agreemenrJ; see also
                        Edens et al., Inter-Rater Reliability, supra note 181, at 116.
                            226. Boccaccini et aL, supra note 221, at 263-64, 276. In this study, researchers found that over
                        thirty percent of the variability in PCL-R scores was attributable to differences among evaluators,
                        regardless of which side of the case they worked on. !d. at 276.
                            227. Studies have consistently demonstrated that there is more subjectivity and room for
                        disagreement on items related to the interpersonal items of the PCL-R (considered more indicative
                        of traditional notions of psyc~opathy) than on historical items (traditionally associated with
                        antisocial behavior). See Miller et al., supra note 221, at 950; see also Terrence W. Campbell, The
                        Validity of the Psychopathy Checklist·Revised in Adversarial Proceedings, 6 J. FORENSIC PSYCHOL.
                        PRAC. 43, 4547 (2006); Edens et a!., Inter-Rater Reliability, supra note 181, at 107; Murrie et al.,
                        /nterrater, supra note 221, at 360.
                            228. Edens et al.,lnrer-Rater Reliability, supra note 181, atl09.




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            evaluators might evoke different levels of Factor I traits due to their own
            interviewing styles 229
                 A second source of potential PCL-R scoring bias is partisan
            adversarial allegiance; that is, the tendency for forensic evaluators to
            reach opinions that support the party who retained them. "For decades,
            observers have complained - although usually through anecdotes and
            impressions rather than empirical data- of bias or partisanship by expert
            witnesses. " 230 These concerns are validated by recent evidence of
            systematic differences in PCL-R rating scores, with scores skewed in the
            direction supporting the party who retained the evaluator. 231 Similar
            concerns have been raised by the National Research Council ("NRC")
            about the reliability of commonly accepted forensic science
            tecbniques, 232 and this new evidence of bias in the use of the PCL-R
            raises specific questions about forensic psychology-an area not
            addressed in the NRC report."'
                 Evidence of the potential for individual and partisan allegiance bias,
            and the lack of field reliability of PCL-R application in forensic
            proceedings, have serious implications for scientifically competent and
            ethical forensic practice. This raises additional questions about the PCL-
            R's evidentiary value in highly adversarial capital litigation
            proceedings. 234 Researchers in this area have concluded that, "as the

                  229. !d. at 116. In further support of individual bias, an exploratory study found that raters'
             PCL-R scoring tendencies related to their own personality traits. Audrey K. Miller et al., On
             Individual Differences in Person Perception: Raters' Personality Trails Relate to Their
             Psychopathy Checklist-Revised Scoring Tendencies, 18 ASSESSMENT 253, 259 (2011).
                   230. Murrie et al., Rater (Dis)agreement, supra note 225, at 46.
                  231. See Murrie et al., lnterrater, supra note 221, at 355; Murrie et al., Rater (Dis)agreement,
             supra note 225, at 23. The strongest evidence for partisan adversarial allegiance derives from a
             recent study that showed a clear pattern of bias in PCL-R scores in an experimental design. Daniel
             C. Murrie et al., Are Forensic Experts Biased by the Side thai Retained Them?, 24 PSYCH. SCI.
             1889, 1890-9!, 1893, 1895 (2013) [hereinafter Murrie et al., Are Forensic Experts Biased}. This
             study assessed potential adversarial allegiance and addressed the question of whether forensic
             experts are biased by the side that retained them. Id. The study adds critical and important
             information to the literature discussed, as the study design involved a random assignment of experts
             trained in use of two risk assessment instruments (including the PCL-R) to either the defense or the
             prose<:ution. Id. Partisan adversarial allegiance was found, even in this instance that did not involve
             real-world settings (e.g., actual retention by the prosecution or defense). !d. This study adds further
             weight to earlier studies based on naturalistic designs, and increases concerns about the objectivity
             of forensic experts when using instruments such as the PCL-R. See id.
                   232. NATIONAL RESEARCH COUNCIL, STRENGTHENING FORENSIC SCiENCE rN THE UNITED
             STATES: A PATH FORWARD 184-85 (2009).
                   233. Munie et al., Are Forensic Experts Biased, supra note 231, at 1895.
                  234. As an important side note, another potential bias involves the threat to academic freedom
             in resolving disputes about the PCL-R. This was addressed recently by prominent psychologists
             Nonnan Poythress and John Petrila See Norman Poythress & John P Petrila, PCL~R Psychopathy:
             Threats to Sue, Peer Review, and Potential Implications for Science and Law. A Commentary, 9
             ll'.rr'L J. fORENSIC MENTAL HEALTH 3, 4, 9 (2010). These forensic experts discussed the




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                       amount of variance attributable to evaluators approaches the amount of
                       variance attributable to the offender, any score or opinion from the
                       evaluator becomes less useful and fails to serve the purpose for
                       which evaluators serve in court: to provide nonbiasing assistance to the
                       trier of fact.'~ 35

                            2. Psychopathy: Ethical Controversies
                           The use of forensic evidence about psychopathy to persuade judges
                      or juries to execute a defendant raises serious ethical concerns. These
                      include the prejudicial nature of the construct itself, the equation of
                      psychopathy with "wickedness" and "evil," and the implication that
                      psychopathic individuals are subhuman. Consider, for example,
                      Cleckley's assertions in his influential book on psychopathy:
                                 We are dealing here not with a complete man at all but with
                             something that suggests a subtly constructed reflex machine which can
                             mimic the human personality perfectly .... So perfect is this
                             reproduction of a whole and normal man that no one who examines
                             him in a clinical setting can point out in scientific or objective terms
                             why, or how, he is fWt real. And yet we eventually come to know or
                             feel we know that reality, in the sense of full, healthy experiencing of
                                                236
                             life, is not here.

                          Similar, dehumanizing language was used more recently by Doctor
                      Reid Meloy, who has written extensively about psychopathy:
                                 [T)he psychodynamics of the psychopath bring us closer to what we
                             see as [his] evil .... It is phylogenetically a prey-predator dynamic,
                             often viscerally or tactilely felt by the psychiatrist as an acute
                             autonomic fear response in the presence of the patient, .. the hair
                             standing up on the neck, goosebumps, or the more inexplicable
                             "creepy" or "uneasy" feeling. These are atavistic reactions that may
                                                                                  237
                             signal real danger and should never be ignored ....


                      implications of a recent threat of litigation against the authors of an article that questioned the role
                      of criminal behavior in the construct of psychopathy. /d. The editor of the scientific journal that
                      accepted the article for publication (following the peer-review process) was also threatened with
                      litigation. !d. Poythress and Petrila cautioned that "litigation threats can have chilling effects on
                      academic freedom." ld Litigation threats, uncommon in the mental health field, have the potential
                      to negatively affect the greatly valued process of peer review as a means of ensuring academic
                      integrity and scientific reliability and validity.ld at 4, 7, 9.
                           235. Boccaccini eta!., supra note 221, at 277.
                          236.    ERROL MORRJS, A Wll,DERNESS OF ERROR: THE TRIALS Of JEFFREY MACDoNALD
                      368· 70 (2012) (emphasis added) (citing HERVEY CLECKLEY, THE MASK OF SANITY (5th ed. 1976)).
                            237. J. Reid Meloy, The Psychology of Wickedness: Psychopathy and Sadism, 27 PSYCHIATRIC
                      A.."l:NALS 630, 631 ( !997) (emphasis added) (footnotes omined). Both of these statements present an
                      alarmingly subjective, dehumanizing portrayal of the "psychopath" as non~human, which has been




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                 The use of such inflammatory language, cloaked as medical
            science, inevitably stigmatizes capital defendants and prejudices capital
            jurors and fact finders. 238 Because of the PCL-R's susceptibility to
            producing unreliable results in the hands of biased examiners, ethical
            concerns are growing about its unreliability and misuse of the PCL-R in
            forensic contexts.

                 3. Psychopathy Evidence More Prejudicial than Probative
                 The PCL-R and the construct of psychopathy have only recently
            been introduced into the sentencing phase of capital murder trials. 239
            Such evidence has quickly taken hold in capital litigation to support
            expert testimony offered by the prosecution that a defendant will be a
            continuing threat to society if he is not executed 240 Accumulating
            evidence suggests that, when juries perceive capital defendants to
            present a risk of future dangerousness, they are more likely to return a

            contradicted by a number of studies indicating that there is no evidence the concept represents a
            discrete category of individuals. II is note¥;onhy that Meloy and Cleckley agree that it is difficult to
            assess clearly whether an individual is a psychopath, except in some "atavistic" or gut~lcvcl
            recognition of this "reality." See id. The subjective nature of Meloy's methodology was
            instrumental in the Colorado homicide conviction of Timothy Lee Masters, who was ultimately
            proven completely innocent Miles Moffeit, Release Likely Today as Missleps Surface, DENVER.
            POST, Jan. 22, 2008, http://www.denverpost.com/ci_8039377. Without interviewing Masters, but
            based on interpretation of violent images depicted in Masters's artwork and writings, Meloy
            testified that the "defendant perceivt:d himself as a warrior character without empathy or feeling
            who engaged, through fictional narratives and pictures, in a variety oftdllings." State v. Masters, 33
            P.3d 1191, 1196 (Colo. App. 2001). The Colorado Supreme Court found that Meloy's testimony
            was crucial to Masters's conviction. No physical evidence linked him to the crime, and "Dr.
            Meloy's testimony provided an explanation for the seemingly inexplicable." Masters v. State, 58
            P.3d 979,991 (Colo. 2002) (en bane}. Without it, "lay jurors would be tremendously disadvantaged
            in attempting to understand Defendant's motivation for killing [Peggy] Hettrick" Id. at 992. Based
            on exonerating DNA tests, and other evidence developed with the assistance of police detectives
            who always had reservations about his guilt, Masters was released from prison on the motion of
            prosecuting attorneys in 2008. Moffeit, supra.
                238. See, e.g., Lloyd eta\., supra note 184, at 324. Caleb D. Lloyd and his colleagues state:
                   Concerns have been raised that expert testimony provided in trial courts, especially
                   testimony in regards to psychopathy, may promote unfounded prejudice or inflate
                   weakly supported research findings to bias criminal justice de<:ision
                   makers. . minimally, professional integrity requires a measure of caution when
                   considering emotionally charged diagnoses in the courts or applying standardized
                   instruments to situations for which these instruments were not originally intended ....
            !d.
               239. John F. Edens eta\., Psychopathy and tire Dealh Penally: Can the Psychopathy Checklist-
            Revised Identify Offenders Who Represent "A Conlinuing Threat to Sociery," 29 J. PSYCIIIATRY &
            L. 433, 434,439 (2001) [hereinafter Edens et al., Psychopathy and the Death Penalty]; see also
            Cunningham, supra note 77, at 828, 829~ 30; Cunningham & Goldstein, supra note 3, at 425.
               240. See, e.g., Bersoff, supra note 77, at 571; Cunningham & Reidy, supra note 17, at 333;
            DeMatteo & Edens, supra note 220, at 215, 218; Edens et al., Impact of Memal Health Evidence,
            supra note 77, at 616~18; Edens et at., Psychopathy and the Death Penalty, supra note 239, at 436·
            37,439; Edens eta!., Predictions, supra note 77, at 77.




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                        death sentence. 241 The label "psychopath" has a profound effect on lay
                        persons' views of capital defendants, because it tends to obscure and
                        overwhelm other relevant mental health evidence 242 This may explain
                        the increasing use of such evidence by the prosecution. 243
                              Given the prejudicial effect of expert testimony that the defendant
                        is a psychopath who may kill again, mental health researchers recognize
                        that it "has arguably become one of the most controversial types of
                        evidence admitted."244 Due to the "limited probative value of the PCL-R
                        in capital cases and the prejudicial nature of the effects noted in this
                        study," 245 Edens and his colleagues "recommend that forensic examiners
                        avoid using it in capital trials.''246 They also argue for ethical guidelines
                        limiting the use of psychopathy evidence:
                              Although the courts have typically allowed experts considerable
                              latitude regarding what constitutes admissible evidence in these cases,
                              this by no mean obviates experts' ethical responsibility to "use
                              assessment instruments whose validity and reliability have been
                              established for use with the members of the population tested" or the
                              need to "take reasonable steps to avoid harming their


                           241. John H. Blume eta!., Future Dangerousness in Capital Cases: Always "At lfsue," 86
                       CORNELL L. REV. 397, 404 (2001); Mark Constanzo & Sally Costanzo, Jury Decision Making in the
                       Capital Penalty Phase: Legal Assumptions, Empirical Findings, and a Research Agenda, 16 LAw &
                       HUM. BEHAV. 185, 196 (1992); Edens ct a!., Impact of Mental Health Evidence, supra note 77, at
                       6!6, 618; John F. Edens & Jennifer Cox, Examining the Prevalence, Role and Impact of Evidence
                       Regarding Antisocial Personality, Sociopalhy and Psychoparhy in Capital Cases: A Survey of
                       Defense Team Members, 30 BEHAV. Scr. & L. 239, 242,247 (2012).
                           242. See DeMatteo & Edens, supra note 220, at 232; Edens et al., !mpacr of Mental Health
                       Evidence, supra note 77, at 607; John F. Edens et al., Psychoparhic Traits Predicf Altitudes Toward
                       a Juvenile Capital Murderer, 21 BEHAV. SCJ. & L. 807,822-24 (2003). As stated by Lloyd and his
                       colleagues:
                             Pejorative labeling and adverse effects are accomplished through experts' selective
                             presentation of the concept of psychopathy or exaggeration of its
                             implications.... [E]ven when psychopathy is correctly applied, research supports the
                             conclusion that perceptions of dangerousness are heightened beyond an experts'
                             indicated risk level when a diagnostic label is given.
                       Lloyd et al., supra note 184, at 325.
                          243. DeMatteo & Edens, supra note 220, at 232.
                          244. Edens et a!., Impact of Mental Health Evidence, supra note 77, at 605 (citing Cunningham
                       & Reidy, supra note 17, at 336~37); Charles P. Ewing, "Dr. Death" and the Case for an Ethical
                       Ban on Psychiatric and Psychological Predictions of Dangerousness in Capital Sentencing
                       Proceedings, 8 AM. J.L. & MED. 407, 412·13, 415 (1983); see also Brief for the American
                       Psychological Association & lhe Missouri Psychological Association as Amicus Curiae Supporting
                       Respondent at 20, Roper v, Simmons, 543 U.S. SSI (2005) (No. 03~633).
                           245. Edens et al., Impact of Memo/ Health Evidence, supra note 77, at 603. This study
                       examined the effects of data about psychopathy on layperson attitudes; test subjects reviewed a
                       capital murder case where results of the defendant's psychological examination were experimentally
                       manipulated. !d.
                          246. Jd.




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                 clients/patients ... and others with whom they work, and to minimize
                 harm where it is foreseeable and unavoidable. Given the minimally
                 probative nature of PCL-R data ... combined with the likelihood
                 that it would have a prejudicial impact, it is difficult to postulate a
                 scenario in which these two ethical standards would not be in jeopardy
                                                47
                 if it were introduced ... .'!2
            It is for these reasons that both the American Psychiatric Association
            and the American Psychological Association have opposed the use of
                                               248
            such evidence in in capital cases.
                  In sum, serious ethical questions have been raised about whether
            the PCL-R provides any probative value in capital sentencing
            procedures."' The PCL-R stigmatizes defendants because of its
            associated label of "psychopath" and the morally damning judgment
            implicit in many of PCL-R items. "[I]t seems impossible to reconcile the
            glaring maccuracy of the prediction made by prosecution
            experts ... with the assertion that death sentences have not been meted
            out in a capricious manner."250 In fact, when laypersons attribute
            psychopathic traits to capital defendants, this strongly predicts their
            support for decisions to execute them.251

                  4. No Intelligent Design: Conceptual Drift Towards
                     "Evil" and "Wickedness"
                 An ethical debate of particular relevance to capital litigation is
            whether the mental health field should weigh in on "wickedness" and
            "evil," which are not clinical constructs (for example, neither are they
            contained anywhere in the DSM, nor are psychiatrists or psychologists
            trained to assess or identify these moral characterizations). While the
            introduction of moral and religious overtones into forensic testimony has

                247. Jd at 619.
               248. Edens & Cox:, supra note 241, at 241; see also Brief of Amicus Curiae American
            Psychological Ass'n in Support of Defendant~Appellant at 9~12, United States v. Fields, No. 04~
            50393 (5th Cic. Apr.2. 2007).
                249. Edens & Cox, supra note 241, at 242~43; see also Bersoff, supra note 77, at 572
            (enumerating six: concerns); Cunningham & Goldstein, supra note 3, at 424, 426; Edens, Misuses,
            supra note 190, at 1085, 1087, 1089 (presenting two case examples); Edens et al., Impact of Mental
            Health Evidence, supra note 77, at 605~06. The PCL·R also is likely to have a highly prejudicial
            effect on perceptions of the defendant. Brief for the American Psychological Ass 'n & the Missouri
            Psychological Ass'n as Amicus Curiae Supporting Respondent at 23·24, Roper v. Simmons, 543
            U.S. 551 (2005) (No. 03-633).
                250. Edens et al, Predictions, supra note 77, at 77. Hare, the developer of the PCL-R, has
            serious concerns about and has disavowed numerous ways in which his instrument has been
            misused. See supra text accompanying notes 206~19.
                251. John F. Edens et al., No Sympathy for the Devil: Attributing Psychopathic Traits to
            Capital Murderers Also Predicts Support for Executing Them, 4 PERSONALITY DISORDERS:
            THEORY, REs. & TREATMENT 175,175~76 (2012).




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                      been questioned, "[i]nterest in evil is growing. The psychological and
                      psychiatric literature reflects steadily increasing attention to the concept
                      of evil over the past two decades."252
                           One prominent advocate of the view that "evil" and similar terms
                      (for example, "depravity") are within the purview of psychiatric
                      assessment is Weiner, a psychiatrist who testifies frequently for the
                      government in death penalty cases 253 His position is that "legal
                      relevance demands that evil be defined and standardized" because, "[i]n
                      39 American states, and in federal jurisdictions, statutes allow for judges
                      and juries to enhance penalties for convicted offenders if they decide the
                      crime conunitted was ~heinous,' 'atrocious,' 'depraved,' 'wanton,' or
                      otherwise exceptional.""' Weiner explains that the purpose of
                      introducing "evil" as a forensic concept in criminal cases is to neutralize
                      evidence of the background and character of the accused, which in his
                      personal opinion has no place in capital decision-making:"'
                                Without standardized direction, jury decisions on whether a crime
                            is depraved are all too often contaminated by details about the ''who"
                            of a crime (i.e. a person's checkered background or, alternatively
                            virtuous qualities that render a jury unable to fathom how such a
                            privileged person could so dramatically offend), as opposed to
                            focusing on "what" thedefendam actual!ydid. 256
                            Weiner contends that, "mingling the 'what' of a crime" with
                      mitigating circumstances "undercuts an unbiased, equal justice."257 He
                      argues that standardizing depravity (evil) is needed to "insulate [jurors]
                      from emotional manipulation, courtroom theatrics, and the introduction
                      offactors that should not play a role in sentencing."258 Of course, the
                      factor that Weiner seeks to neutralize is the Eighth Amendment's "need
                      for treating each defendant in a capital case with that degree of respect
                      due the uniqueness of the individual.""'
                            Weiner's advocacy of the use of depravity or evil to focus solely on
                      the "what" of the crime, rather than the "who" of the defendant, is
                      particularly misguided in light of the constitutional demand that the

                         252. Knoll, .supra note 56, at 105 ("Medline and PubMed searches using the phrases 'the
                      concept of evil in forensic psychiatry' and 'evil and psychiatry' revealed significantly more relevant
                      publications beginning in the early to mid 1990s than before this period.").
                         253. See Michael Weiner, MD., FORENSIC PANEL, http://v.ww.forensicpanel.com/about/
                      out_experts/expert/20835.html (last visited Feb. 16, 2014).
                         254. Welner,supranote57,at417.
                         255. See generally id.
                         256. Jd. at 417 (emphases added).
                         257. /d.at417-!8.
                         258. !d. at 418 (emphasis added).
                         259. Lockett v. Ohio, 438 U.S. 586,605 (1978).




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             sentencer consider the uniqueness of each individual in weighing the
             death penalty, which is reserved only for "a narrow category" of the
             most culpable offenders who commit the worst of crimes. 260 Indeed, the
             very factors which Weiner insists on writing out of the capital
             sentencing equation-"a person's checkered background or,
             alternatively virtuous qualities ... [or] race, orientation, and
             socioeconomic factors" 261 --are "relevant because of the belief, long held
             by this society, that defendants who commit criminal acts that are
             attributable to a disadvantaged background ... may be less culpable than
             defendants who have no such excuse. " 262 The Eighth Amendment
             condemns any procedure that "treats all persons convicted of a
             designated offense not as uniquely individual human beings, but as
             members of a faceless, undifferentiated mass to be subjected to the blind
             infliction of the penalty of death."263 Therefore, the Supreme Court
             requires that a capital sentencer be permitted to consider, "as a
             mitigating factor, any aspect of a defendant's character or record and any
             of the circumstances of the offense that the defendant proffers as a basis
             for a sentence less than death." 264 Weiner's admission that evidence
             about psychopathy is intentionally designed to obscure constitutionally
             mandated mitigating evidence provides a compe \ling ethical argument
             for excluding it altogether.
                   Contrary to Weiner, psychiatrist Doctor Robert Simon articulates
             the view that "evil" is not within the purview of the science
             of psychiatry:
                        Forensic psychiatrists are ethically required to adhere to the
                     principles of honesty and striving for objectivity in providing opinions
                     and testimony. Evil, however, is a concept too knotted in ambiguity for
                     the application of these principles. The proper metier of the forensic
                     psychiatrist is psychological and clinical. Psychiatrists are medically
                     trained in the scientific method, not in the diagnosis and treatment of
                     evil. They obsetve cause and effect in human behavior. When a
                     concept is beyond scientific investigation, it is the province of the
                     philosopher and theologian. Introducing the concept of evil into
                     forensic psychiatry hopelessly complicates an already difficult task.




                260. Atkins v. Virginia, 536 U.S. 304,319 (2002).
                261. See also Weiner, supra note 57, at 417.
                262. Wiggins v. Smith, 539 U.S. 510, 535 (2003) (quoting Penry v. Lynaugh, 492 U.S. 302,
             319 (1989)).
                263. Woodson v. North Carolina. 428 U.S. 280,304 (1976).
                264. Lockett v. Ohio, 438 U.S. 586, 604 (1978) (emphasis omitted).




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                             The detennination that a particular behavior is or is not evil is a
                             judgment that is heavily influenced by context and subjectivity. 265
                             Simon argues persuasively that "[t]he Gordian knot of evil cannot
                       be untied by forensic psychiatry. It is unreasonable to expect forensic
                       psychiatrists to provide credible testimony about evil."266 He explains,
                       "[l]ay people are just as qualified to identifY these individuals as evil,"
                       and forensic psychiatrists and psychologists have "an important, but
                       limited consulting role when advising the courts about psychological
                       matters. We are not and should not be asked to offer professional
                       opinions about evil. It's the law's final moral judgment of guilt upon
                       individuals whom society brands as evildoers."267
                             Opponents of using psychiatry to measure evil point out that it is
                       "an entirely subjective concept created by humans." 268 They argue that
                       "[s]ince evil is a subjective moral concept with inextricable ties to
                       religious thought, it cannot be measured by psychiatric science." 269
                       Further, "attempts by behavioral science to define evil as though it were
                       an objective and quantifiable concept are inherently flawed." 270 To give
                       "evil" quasi-scientific status in the psychiatric study of human behavior
                       would harm patients and impede advancement in the identification and
                       treatment of mental disorders:
                             The term evil is very unlikely to escape religious and unscientific
                             biases that reach back over the millennia. Any attempt to study violent
                             or deviant behavior under this rubric will be fraught with bias and
                             moralistic judgments. Embracing the tenn evil as though it were a
                             legitimate scientific concept will contribute to the stigma of mental
                             illness, diminish the credibility of forensic psychiatry, and corrupt
                             forensic treatment efforts. 271
                       To conclude otherwise would threaten the neutrality and objectivity that
                       are essential ingredients of ethical and psychiatrically valid forensic
                       mental health evaluations:

                           265. Robert I. Simon, Should Forensic Psychiatrists TestifY About Evil?, 31 J. AM. ACAD.
                       PSYCHIATRY & L. 413, 414 (2003) (footnote omitted). In a private communication with Robert I.
                       Simon, Daniel W. Shuman, Professor of Law at Southern Methodist University, wrote: "As to
                       relevance, no legal standard with which I am familiar turns on depravity- to what is this relevant in
                       the forensic world?" !d. at 413.
                           266. !d. at 416.
                           267. Jd
                           268. Knoll, supra note 56, at 105.
                           269. !d. Knoll explains that, "evil can never be scientifically defined because it is an illusory
                       moral concept, it does not exist in nature, and its origins and connotations are inextricably linked to
                       religion and mythology." /d. at 114.
                          270. !d. at 105.
                          271. !d. at ll4.




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                        Thus, psychiatry already bas a tradition of at least attempting to
                  avoid moralistic bias by focusing on concepts such as violence,
                  aggression! or sexual disorders. Terms with valuepladen or pejorative
                  connotations are either limited or avoided. The use of such terms is a
                  tradition that places value on the struggle for neutrality and objectivity.
                  Forensic psychiatrists, as expert witnesses, subscribe to the principle in
                  ethics of striving for objectivity. Forensic clinical psychiatrists, who
                  must follow general ethics guidelines for psychiatry, are instructed to
                  avoid any policy that "excludes, segregates or demeans the dignity" of
                  a patient. When treating offenders, psychiatrists must strike a balance
                  between neutrality and beneficence, regardless of how heinous a crime
                                                    272
                  the patient may have committed.

                  Finally, introducing "evil" into capital sentencing under the guise
             of medical science will only increase concerns about the arbitrary and
             capricious infliction of the death penalty:
                     (I]t is not difficult to imagine a scenario in which the results of a legal
                     adjudication of evil include discrimination against poor or
                     disadvantaged individuals....
                         There are strong emotional and psychological forces at play during
                     capital trials that are potentially biasing. It is well known that much
                     more than legal fact is communicated in the courtroom, and that this
                     "much more" has a direct and powerful effect on a jury's punishment
                     decision. For example, it has been found that a defendant's appearance
                     significantly influences whether jurors impose the death sentence. If
                     jurors are unable to discount the physical appearance of a defendant in
                     their deliberations, what is the likelihood that they will remain
                     objective when a word steeped in religious morality is introduced by
                                                           273
                     "experts!' as a scientific construct?
                   In sum, evidence that the defendant has ASPD or psychopathy, and
             that he will therefore be dangerous in the future, fails the most basic tests
                                       274
             of scientific knowledge. The myriad scientific, reliability, and ethical
             concerns about labeling a person antisocial, psychopathic, and evil
             cloaked as psychiatric findings should result in this evidence being
             excluded from the highly-charged adversarial atmosphere of capital
             trials. Thirty years ago, the Supreme Court rejected a challenge to the


                272. /d. at 112 (citation omitted) (footnote omitted).
                273. /d at II 0 (footnote omitted).
                 274. "{S]cientists typically distinguish between 'validity' (does the principle support what it
             purports to show?) and 'reliability' (does application of the principle produce consistent results?)."
             Daubert v. Merrill Dow Phannaceutical, Inc., 509 US. 579, 590 n.9 (1993). "Scientific
             methodology today is based on generating hypotheses and testing them to see if they can be
             falsified; indeed. this methodology is what distinguishes science from other fields of human
             inquiry." !d. at 593.




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                        use of psychiatric testimony in the penalty phase of a death penalty case
                        that the defendant would pose a future danger if not executed. 275 The
                        Court found that, "[l]he suggestion that no psychiatrist's testimony may
                        be presented with respect to a defendant's future dangerousness is
                        somewhat like asking us to disinvent the wheel."276 As Edens and his
                        colleagues suggest, perhaps the time has come to do so. 277

                               IV.   LEGAL GUIDELINES AND MENTAL HEALTH ASSESSMENTS:
                                               A VOIDING FA TAL MISTAKES

                            This Part will discuss the "long recognized ... critical interrelation
                       between expert psychiatric assistance and minimally effective assistance
                       of counsel." 278 Prevailing standards governing the perfom1ance of
                       defense counsel in the post-Funnan279 era of capital punishment require
                       the capital defense team's active participation and guidance in the
                       assessment of the client's behavior, background, and mental health 280
                       Performance standards have never contemplated that defense counsel
                       would be a passive observer in processes and decisions that could
                       determine his or her client's fate. To the contrary, a capital defendant
                       "requires the guiding hand of counsel at every step in the proceedings
                       against him." 281 In the context of a potential death sentence, assessment
                       of the client's mental condition is a critical stage of the proceeding in
                       which the guiding hand of counsel is absolutely essential under the
                       Constitution. 282 To illustrate our point, we will discuss competent mental
                       health assessments and cases that illustrate the importance of counsel's
                       involvement to assure that the client does not fall victim to unreliable
                       findings of ASPD and psychopathy.




                           275.   Barefoot v. Estelle, 463 U.S. 880,883-85,887,903 (1983).
                           276.   /d at 896.
                           277.   Edens et al., Predictions, supra note 77, at 76-77.
                           278.   Blake v. Kemp, 758 F.2d 523, 53! (11th Cit. 1985) (quoting United States v. Edwards,
                       488 F.2d 1154, 1163 (5Ih Cir. 1974)).
                           279. Funnan v. Georgia, 408 U.S. 238 (1972).
                           280. ABA GUIDELL"\'ES, s~ra note 18, Guideline 1.1 cmt., at 926-27.
                           281. Powell v. Alabama, 287 U.S. 45,69 (1932).
                           282. "It is central to [the Sixth Amendment] principle that in addition to counsel's presence at
                       trial, the accused is guaranteed that he need not stand alone against the State at any stage of the
                       prosecution, formal or infonnal, in coun or out, where counsel's absence might derogate from the
                       accused's right to a fair trial." Estelle v. Smith, 451 U.S. 454, 470 (1981) (quoting United States v.
                       Wade, 388 U.S. 218, 226·27 (I 967)).




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                                                    A. "Defense Fail"
                   Justice Ruth Bader Ginsburg observed that "[p]eople who are well
              represented at trial do not get the death penalty."283 Her observation
              holds true a dozen years later, as evidenced by many noteworthy
              examples in recent memory, including Olympic Park Bomber Eric
              Rudolph, Unabomber Ted Kaczynski, Atlanta courthouse escapee Brian
              Nichols, accused September II th co-conspirator Zacharias Moussaoui,
              Beltway Sniper Lee Boyd Malvo, and Jared Lee Loughner, the shooter
              of Congresswoman Gabrielle "Gabby" Giffords and others in Tucson,
              Arizona. These defendants have three things in common: each was
              convicted of highly publicized capital crimes that had resulted in the
              deaths of multiple people; Each had a tragic history of mental illness that
              played a key role in persuading jurors, judges, or even prosecutors to
              reject the death penalty; and each was represented by a team of lawyers,
              investigators, and mitigation specialists who performed consistently with
              the ABA Guidelines. 284 Experience bears testament to Justice William
              Brennan's observation that "[t]he evidence is conclusive that death is not
              the ordinary punishment for any crime. " 285
                    Without representation consistent with the ABA and
              Supplementary Guidelines, the outcome of these cases would be
              different. Evidence supporting Justice Ginsburg's observation is easy to
              find. Columbia Law Professor James Liebman conducted an exhaustive
              survey of modern death penalty cases and found that more than two-
              thirds of death sentences are set aside because of prejudicial error, and
              that the most common error is ineffective assistance of defense
              counsel. 286 The vast majority of these cases ended in a more favorable
              disposition for the defendant after remand. 287 Our research reflects that

                  283. Justice Backs Death Penalty Freeze, CBS NEWS (Feb. 11, 2009, 9:27 PM),
              http://www .cbsnews.com/21 00.508 _162-284850 .htm t
                  284. See James Ball, Ariz. Shoorer Gets 7 Life Terms, WASH. PosT, Nov. 9, 2012, at A3; Shaila
              Dewan, Olympics Bomber Offers an Apology at Sentencing, N.Y. TIMES, Aug. 23, 2005, at A\5;
              William Glaberson, Kaczynski Avoids a Death Sentence with Guilty Plea, N.Y. TIMES, Jan. 23,
              1998, at AI; Jerry Marken & Timothy Dwyer, Jurors Reject Death Penalty for Moussaoui, WASH.
              PosT, May 4, 2006, at Al; Sniper Malva Sentenced to Life Without Parole, CNN, May 5, 2004,
              http://www .cnn.com/2004/LAW103/1 0/sniper .malvo.
                  285. Funnan v. Georgia, 408 U.S. 238,291 (1972) (Brennan, J., concurring).
                  286. A comprehensive study of capital cases in America between 1973 and \995 found that
              sixty-eight percent of all death sentences were set aside by appellate, post-conviction, or habeas
              corpus courts due to serious error. James S. Liebman et al., Capital Attrition: Error Rates in Capital
              Cases, 1973-/995,78 TEX. L. REv. \839, 1849-50 (2000).
                  287. Following appellate or post-conviction rulings finding serious error in capital cases,
              eighty·twO percent of defendants "were found on retrial not to have deserved the death penalty,
              including [seven percent] ... who were cleared of the capital offense." ld. at 1852 (emphasis
              omitted).




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                       capital clients are at an increased risk of being diagnosed with ASPD or
                       psychopathy if they are represented by trial, appellate, or post-conviction
                       defense teams who fail to comply with the ABA and Supplementary
                       Guidelines. This failure contributes significantly to the arbitrary pattern
                       of death sentences and executions in the United States.
                             The Supreme Court's decision in Rompil/a v. Beard'" illustrates
                       how defense counsel's deficient performance heightens the risk of a
                       death sentence by facilitating an erroneous forensic opinion that the
                       client is antisocial or psychopathic. 289 Instead of retaining a qualified
                       mitigation specialist, trial counsel relied on a staff investigator to help
                       investigate and develop mitigation evidence in addition to performing
                       traditional guilt-or-innocence investigative functions. 290 Consequently,
                       the defense team was understaffed and, contrary to prevailing
                       performance standards, no team member was "qualified by training and
                       experience to screen individuals for the presence of mental or
                       psychological disorders or impairments. " 291 Inevitably, as a result of this
                       failure, critical infonnation was misinterpreted or overlooked. 292
                             A qualified mitigation specialist would have brought to Ronald
                       Rompilla's defense team "clinical and information-gathering skills and
                       training that most lawyers simply do not have. " 293 These specialized
                       skills include "the training and ability to obtain, understand and analyze
                       all documentary and anecdotal information relevant to the client's life
                       history,"'" and the ability to conduct multiple, culturally competent, "in-
                       person, face-to-face, one-on-one interviews with the client, the client's

                          288. 545     u.s. 374 (2005).
                          289. Seeid.
                          290. Ronald Rompilla's three-person defense team consisted of two public defenders and "an
                       investigator in the public defender's office." ld at 398 (Kennedy, J., dissenting). This is inconsistent
                       with the ABA Guidelines, which provide that "[t}he defense team should consist of no fewer than
                       two attorneys qualified in accordance with Guideline 5 .l, an investigator, and a mitigation
                       specialist" ABA GUIDELINES, supra note 18, Guideline 4.1 (A){ l), at 952 (emphasis added).
                          291. ABA GUIDELINES, supra note 18, Guideline 4.l(A)(2), at 952; see also id Guideline
                       10.4(C)(2)(a), at 1000 (providing that counsel should select a team that includes "at leas/ one
                       mitigation specialist and one fact investigator'' (emphasis added)), More recently, the
                       Supplementary Guidelines provided useful context to this requirement:
                             At least one member of the team must have specialized training in identifYing,
                             docwnenting and interpreting symptoms of mental and behavioral impainnent, including
                             cognitive deficits, mental illness, developmental disability, neurological deficits; long·
                             tenn consequences of deprivation, neglect and maltreatment during developmental years;
                             social, cultural, historical, political, religious, racial, environmental and ethnic influences
                             on behavior; effects of substance abuse and the presence, severity and consequences of
                             exposure to trauma.
                       SUPPLEMENTARY GUIDELINES, supra note 19, Guideline 5.l(E), at 683.
                          292. See Rompilla, 545 U.S. at 378-80, 382-83.
                          293. ABA GUIDELUI<'ES, supra note 18, Guideline 4.1 cmt., at 959.
                          294. SUPPLEMENTARY GUIDELINES, supra note 19, Guideline 5.1(8), at 682.




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             family, and other witnesses who are familiar with the client's life,
             history, or family history or who would support a sentence less than
             death." 291 As illustrated in further detail below, this is no small
             undertaking, but it is critically important to fair and reliable decisions by
             everyone involved in the litigation of a capital case. 296 Counsel's
             decision to proceed to trial without a fully qualified defense team
             practically guaranteed unreliable results, putting Rompilla at a high risk
             of being wrongly labeled antisocial or psychopathic.'" Nor was this
             oversight overcome by retaining three mental health examiners to
             evaluate Rompilla; without the benefit of a thorough life history
             examination, all three experts concluded that Rompilla had ASPD. 298
                   Rompilla's trial counsel were found ineffective after a team of post-
             conviction lawyers, functioning consistently with the ABA and
             Supplementary Guidelines, uncovered persuasive evidence of
             developmental disability, possible schizophrenia, fetal alcohol
             syndrome, and chronic childhood trauma severe enough to cause related
             disabilities in adulthood; this new picture of Rompilla was so
             compelling and humanizing that virtually no weight was given to the
             ASPD diagnoses assessed by the misinformed pretrial examiners."' It is


                 295. !d. Guideline lO.ll(C), at 689. The team must also "endeavor to establish the rapport with
             the client and witnesses that will be necessary to provide the client with a defense in accordance
             with constitutional guarantees relevant to a capital sentencing proceeding." !d.
                 296, See O'Brien. supra note 74, at 707, 709~12, for a more in-depth discussion of the
             prevailing investigation standards described in the ABA Guidelines and commentary.
                 297. See generally Dudley & Leonard, supra note 74. Typical criminal case investigators are
             ill-suited for mitigation work because they simply lack the necessary skills and abilities. William M.
             Bowen, Jr., A Former Alabama Appellate Judge's Perspective on the Mitigation Function in
             Capital Cases, 36 HOFSTRA L. REV. 805,817 (2008).
                 298. See Rompilla v. Beard, 545 U.S. 374, 379-80 (2005); see also Bowen, supra note 297, at
             817 (observing that, unlike a mitigation specialist, a psychologist wilt not "drop in on families, or
             track down and interview witnesses'').
                 299. Rompilla, 545 U.S. at 390~91. The trial team's limited investigation failed to uncover
             evidence that:
                    Rompilta's parents were both severe alcoholics who drank constantly. His mother drank
                    during her pregnancy with Rompilla, and he and his brothers eventually developed
                    serious drinking problems. His father, who had a vicious temper, frequently beat
                    Rompil\a's mother, leaving her bruised and black-eyed, and bragged about his cheating
                    on her. His parents fought violently, and on at least one occasion his mother stabbed his
                    father. He was abused by his father who beat him when he was young with his hands.
                    fists, leather straps, belts and sticks. All of the children lived in terror. There were no
                    expressions of parental love, affection or approval. Instead, he was subjected to yelling
                    and verbal abuse. His father locked Rompilla and his brother Richard in a small wire
                    mesh dog pen that was filthy and excrement filled. He had an isolated background, and
                    was not allowed to visit other children or to speak to anyone on the phone. They had no
                    indoor plumbing in the house, he slept in the attic with no heat, and the children were not
                    given ciothes and attended school in rags.
             ld. at 391-92.




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                       not difficult to find in virtually every capital punishment jurisdiction in
                       America similar cases in which a thorough post-conviction investigation
                       trumped pretrial diagnoses of ASPD that were based on shallow and
                       superficial social history investigations 300 Rompil/a and similar cases
                       illustrate differential explanations for allegedly antisocial or
                       psychopathic behaviors.

                         B. Merging Mental Health and Legal Standards-The Role of Counsel
                              In this Subpart, we discuss counsel's obligation to participate
                       actively in the investigation of his or her client's background and mental
                       health. Our starting point is the recognition that counsel is obliged to
                       acquire the specialized knowledge necessary to defend his or her
                       client. 301 In capital cases, mental health problems are so common among
                       defendants that "[i]t must be assumed that the client is emotionally and
                       intellectually impaired."302 Just as a lawyer specializing in the defense of
                       drunk drivers must become familiar with the biological processes of
                       intoxication and the design and functional limits of breathalyzer
                       technology, a capital defense attorney must become knowledgeable
                       about mental health. This includes becoming familiar with the
                       mental health standards and procedures for conducting forensic and
                       clinical evaluations.
                              The starting point for this discussion is that capital litigators
                       understand that graphs or charts produced by psychometric testing do
                       little to humanize the client:
                                 A problem with much expert testimony is that it is so focused on
                             test score numbers and their psychometric properties, or diagnostic
                             criteria and categorization, that the individual being evaluated
                             sometimes gets forgotten. This often results in "expert battles" about
                             cut-offs or comorbidity, diminishing the credibility of all the
                             participants in the courtroom, but more significantly, failing to bring
                             into focus the significant ways in which the symptoms of a person's
                             mental illness shaped his/her life experiences, altered his/her options,



                         300. See, e.g., Ferrell v. Hall, 640 F.3d 1199, 1203, 1211-12 (lith Cir. 2011); Cooper v. Se<::'y,
                      Dep'tofCorr., 646 F.3d 1328, 1346-47 (11th Cir. 2011); Walbey v. Quarterman, 309 F. App'x 795,
                      796-97, 803-04 (5th Cir. 2009); see also O'Brien, supra note 74, at 700 n.25 (collecting cases).
                         301. MODEL RULES OF PROF'L CONDUCT R. l.l (2013) ("A lawyer shall provide competent
                      representation to a client. Competent representation requires the legal knowledge, skill,
                      thoroughness and preparation reasonably necessary for the representation.").
                         302. ABA GUIDELINES, supra note 18, Guideline 10.5 cmt., at 1007 (quoting Rick Kammen &
                      Lee Norton, Plea Agreements: Working with Capital Defendants, ADVOCATE, Mar. 2000, at 31,
                      31). More recently, the U.S. Department of Justice reports that over half of the prisoners in the
                      United States suffer some fonn of mental disease. JAMES & GLAZE, supra nore 139, at I.




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                  choices, and decisions, and brought that person into the courtroom as a
                                       303
                  subject oftestimony.

             Psychometric testing in general, and the PCL-R in particular, are
             unreliable substitutes for a thorough life history investigation into the
             witnesses and documents that uncover the client's life history and stories
             that reveal his intrinsic humanity and redeeming qualities that coexist
             with his mental and emotional impairments 304
                   The mental health field provides important, but often overlooked,
             criteria for the interpretation of data. Counsel must be aware of the
             difference between objective behavior (facts or symptoms) and
             subjective interpretations of that behavior (conclusions or diagnoses).
             The DSM-5 cautions that, before drawing a conclusion from a person's
             behavior, many different factors-including his or her social, cultural,
             and ethnic background-must be taken into account.305 Competent
             evaluation requires a thorough patient history, including a family history
             going back at least three generations. 306 Assessing DSM-5 diagnostic
             criteria for personality disorders requires evaluation of long-term
             functioning,"' and performance standards recognize that it is necessary
             to conduct multiple interviews over a span of time. 308 Before a behavior

                303. Woods et al., supra note 74, at 433.
                304. !d.; see Dudley & Leonard, supra note 74, at 973, 975; see also Wilson v. Trammell, 706
             F.3d 1286, 1290-94 (lOth Cir. 2013) (finding that the trial and post-conviction counsel placed
             primary reliance on whether a pretrial examiner misinterpreted personality test results which
             arguably established that the client suffered from schizophrenia). Wilson devolved into an argument
             over what diagnostic label most accurately fit the client, and the courts were not moved to find that
             he was prejudiced by defense counsel's performance. Wilson, 706 F.3d at 1288. This contrasts
             sharply with cases in which trial counsel were similarly deficient, but the post-conviction
             investigation focused on the client's life story, not the interpretation of psychometric testing or
             diagnostic labels. See, e.g., Rompilla v. Beard, 545 U.S. 374, 378 (2005); Wiggins v. Smith, 539
             U.S. 510, 514, 535 (2003); Ferrell, 640 F.3d at 1203; Cooper, 646 F.3d at 1342; Waibey, 309 F.
             App'x. at 801.
                305. DSM-5, supra note 24, at 662.
                 306. Dudley & Leonard, supra note 74, at 966-67; ue also Lee Norton, Capital Cases:
             Mitigation Investigations, CH/\MPION, May 1992, at 43, 44; Daniel J. Wattendorf & Donald W.
             Hadley, Family History: The Three-Generation Pedigree, 72 AM. FAM. PHYSICIAN 441, 447 (2005),
                307. DSM-5, supra note 24, at 647. Professors of psychiatry train students to "map out the
             longitudinal course of their patient's illness; this helps pin down the course and give the student a
             better understanding of the patient." NANCY C. ANDREASEN & DONALD W. BLACK, INTRODUCTORY
             TEXTBOOK OF PSYCHIATRY 291 (3d ed. 2001).
                308. See Deana Dorman Logan, Learning to Obsetve Signs of Mental/mpoinnent, reprinted in
             MENTAL HEALTH AND EXPERTS MANUAL ch.19, at 19-1 to 19-6 (8th ed. 2005) (explaining that a
             subje<:t's symptoms may not be stable over time, so that multiple inteJViews are necessary for the
             defense team to fulfill its duty as the observational caretaker of the client's condition); see also
             BENJAMIN JAMES SADOCK & VIRGll\'lA ALCOTT SADOCK, KAPLAN & SADOCK'S SYNOPSIS OF
             PSYCHIATRY 6 (9th ed. 2003). Benjamin and Virginia Sadock recommend:
                   Psychiatric patients may not be able to tolerate a traditional interview format, especially
                   in the acute stages of a disorder. For instance, a patient suffering from increased




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                       or characteristic of the defendant can be attributed to a personality
                       disorder, multiple alternative factors must be considered and ruled out. 309
                       Even Cleckley, the influential proponent of the modern construct of
                       psychopathy, argues strongly for differential diagnosis 310
                             As noted above, by definition the diagnostic criteria for any
                       personality disorder must involve traits and behavior that deviate
                       markedly from the expectations of the client's culture."' Behavior relied
                       upon to support a personality disorder should not be confused with "the
                       expression of habits, customs, or religious and political values professed
                       by the individual's culture of origin."312 Therefore, a thorough
                       understanding of the cultural influences in the client's Iife is essential to
                       an accurate mental health assessment 3 ll
                             Environmental and situational factors must also be considered. The
                       DSM-5 cautions that if a constellation of observed behaviors is better
                       accounted for by another mental disorder, is due to the direct
                       physiological effects of a substance (for example, drug, medication, or
                       toxin exposure), or is caused by a general medical condition (for
                       example, head trauma), a personality disorder should not be
                       diagnosedH 4 A personality disorder diagnosis must also be
                       distinguished from behaviors that emerge in response to situational
                       stressors or more transient mental states, (for example, mood or anxiety

                             agitation or depression may not be able to sit for 30 to 45 minutes of discussion or
                             questioning. In such cases, physicians must be prepared to conduct multiple brief
                             interactions over time, for as long as the patient is able, then stopping and returning
                             when the patient appears able to tolerate more.
                       SADOCK & SADOCK, supra, at 6. Mitigation specialist Russell Stetler points out that multiple
                       interviews will be necessary simply because "[iJnvestigating the capital client's biography is a
                       sensitive, complex, and cyclical process." Russell Stetler, Capital Cases, CHAMPION, Jan.--Feb.
                        1999, at 35, 38. Thus, if a person has already been interviewed, and new documents or information
                       suggest a new area of inquiry for that individual, it will be necessary to interview that person again.
                       Norton, supra note 306, at 45.
                           309. The discussion that follows points to a number of directives in the DSM-5 that certain
                       factors be considered or ruled out prior to assessing a personality disorder diagnosis. See infra text
                       accompanying notes 323-82; see also DSM-5, supra note 24, at 662-63. As noted above, the DSM
                       has been criticized for giving inadequate guidance on the interpretation of symptoms and
                       application of diagnostic criteria. See supra notes 113-37 and accompanying text. Although these
                       problems still persist, the ensuing discussion reveals that the context provided by a thorough life
                       history investigation is essential to the proper interpretation of diagnostic criteria and procedures.
                           310. See Freedman, Premature Reliance, supra note 160, at 59. In Cleckley's view, conditions
                       such as "mental deficiency or organic brain damage, schizophrenia, psychosis, cyclothymia or
                       paranoia, manic depression, anxiety disorder, or criminality precluded a finding of
                       psychopathy ... [this] has been quietly forgotten by those who claim his tradition as the theoretical
                       framework in which to assess psychopathy." Id
                           311. DSM-5, supra note 24, at 645.
                           312. !d. at 648.
                           313. See generally Holdman & Seeds, supra note !05.
                          314. DSM-5, supra note 24, at 648, 662.




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             disorders, substance intoxication)'" or are associated with acculturation
             after immigration. 316 When personality changes emerge and persist after
             an individual has been exposed to extreme stress, a diagnosis of
             posttraumatic stress disorder ("PTSD") should be considered. 317 When
             an individual has a substance-related disorder, the DSM-5 cautions that
             it is important not to make a personality disorder diagnosis based solely
             on behaviors that are consequences of substance intoxication or
             withdrawal, or that are associated with activities in the service of
             sustaining a dependency. 318
                    A thorough life history investigation is also important to an
             accurate mental health assessment and differential diagnosis because
             behavior does not qualify for a personality disorder (or ASPD) diagnosis
             if it is "part of a protective survival strategy." 319 For example, a child at
             risk of violence in the home may run away, become truant from school,
             habitually lie, or engage in other behavior to evade severe maltreatment.
             Children in impoverished environments may steal food simply to have
             enough to eat. As noted above, the DSM-IV-TR diagnosis of ASPD
             requires the existence of conduct disorder prior to age eighteen.320 In
             addition, symptoms cannot be attributed to ASPD if the client's behavior
             occurred exclusively during the course of schizophrenia or a manic


                 315_ !d. at647.
                 316. /d.at64&.
                 317. Jd. at 649.
                 318. /d. The differential diagnosis of alcohol use disorder and personality disorder is clear
             when considering the DSM·5 text language for the fanner, which includes:
                   Social and job perfonnance may also suffer either from the aftereffects of drinking or
                   from actual intox.ication at school or on the job; child care or household responsibilities
                   may be neglected; and alcohol absences may occur from school or work. The individual
                   may use alcohol in physically hazardous circumstances (e.g. driving an automobile,
                   swimming, operating machinery while intoxicated). Finally, individuals with an alcohol
                   use disorder may continue to consume alcohol despite knowledge that continued
                   consumption poses significant physical (e.g., blackouts, liver disease), psychological
                   (e.g., depression), social or interpersonal problems (e.g., violent arguments with spouse
                   while intoxicated, child abuse).
             !d. at 492·99. A thorough life history investigation can also avoid the problem of "diagnostic
             overshadowing, which refers to diagnostic errors that result from mistakenly attributing signs and
             symptoms of one disorder or condition to another." Kathleen Wayland, The Importance of
             Recognizing Trauma Throughout Capital Mitigation Investigations and Presentalions, 36 HoFSTRA
             L. REV. 923, 942 n.81 (2008) (internal quotation marks omitted). This is especially important
             because of the "extremely high prevalence of comorbid substance abuse disorders in the highly
             traumatized population of capitally charged defendants." !d. Without a thorough investigation for
             trauma history or signs and symptoms of major mental disorders such as schizophrenia or bipolar
             disorder, "[d]iagnostic overshadowing often results in the failure to identifY the presence of co-
             occurring mental disorders." !d.
                 319. DSM~5,supranote24,at662.
                 320. DSM·IV·TR, supra note 24, at 702.




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                        episode. 321 Thus, ASPD cannot be diagnosed if the "enduring pattern" of
                        antisocial behavior occurs only during the course of several other serious
                        Axis I disorders. 322
                             With these caveats in mind, we will revisit the seven DSM-IV-TR
                        diagnostic criteria for ASPD, and provide a brief discussion with
                        examples of some of the many alternative explanations that could
                        account for the client's behavior. Apropos to this discussion is a caution
                        about the danger of "the subjectivity involved in making a diagnosis
                        which may be based purely on subjective guesswork and interpretations
                        in worst-case scenarios," 323 issues that we illustrate below.

                              I. "Failure to conform to social norms with respect to lawful
                                 behaviors, as indicated by repeatedly perfom1ing acts that are
                                 grounds for arrest."324
                             Prior conviction and arrest records are not uncommon among
                       capital defendants, and many examiners will consider this criterion
                       satisfied based solely on a piece of paper summarizing the client's
                       criminal history in a most bare-bones manner. This criterion is
                       inherently flawed, represents circular reasoning, and relates to ethical
                       concerns discussed above; that is, inherent in the criterion is an
                       assumption that "failure to conform to social norms" is by definition an
                       example of antisocial behavior. 325 However, there are a host of reasons
                       why clients may fail to conform to social norms and repeatedly perform
                       acts that are grounds for arrest, or are seemingly violations of pro-social
                       expectations for behavior. Civil rights protesters, such as Rosa Parks and
                       Reverend Doctor Martin Luther King, arguably brought themselves
                       within this criterion through repeated acts of civil disobedience, 326 yet no
                       one would seriously contend that these were antisocial acts.
                            Among the population of homicide defendants, there are equally
                       valid reasons that an arrest record is not indicative of a personality
                       disorder. For example, a client with limited intellectual functioning may
                       not have the capacity to understand or comply with what society defines
                       as pro-social behavior. 327 Clients with neurodevelopmental disabilities-


                           321.   !d. at 688.
                           322.   See id. at 688-89.
                           323.   Bendelow, supra note 138, at 546.
                           324.   DSM-5, supra note 24, at 659.
                          325. !d.
                          326. See id at 663.
                          327. "The mentally retarded person might accompany perpetrators or actually commit a crime
                       on impulse or without weighing the consequences of the acl; when stopped by the police he might
                       be unable to focus on the alleged crime or appreciate the gravity of his arrest .... " James Ellis &
                       Ruth luckasson, Mentally Retarded Criminal Defendants, 53 GEO. WASH. L. REv. 414,429 (1985).




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            for example, individuals on the autism spectrum-are often severely
            impaired in their ability to understand or appreciate social interactions
            and cues. 328 Traumatized clients may engage in acts that ostensibly fail
            to conform to social norms, which represent coping attempts to survive
            perceived or actual threats to life. In general, persons with severe mental
            illness are simply more likely to be arrested for a multitude of complex
            reasons that are unrelated to defects in their personalities. 329 By failing to
            consider and distinguish these and other potential underlying
            explanations that contextualize reasons for specific behaviors, mental
            health evaluators may effectively imply intent to violate social norms
            where no such intent exists.
                  It would also be inappropriate to find that this diagnostic criterion is
            satisfied if the client's arrest records are the product of factors external
            to the client. Factors related to race, ethnicity, and class may also explain
            what appears to be "failure to conform to social nonns." 330 For example,
            we frequently see clients who have records of multiple arrests, and, after
            a proper mitigation investigation, learn that they have been targeted at
            young ages by law enforcement in their local jurisdictions and subjected
            to racial profiling and discriminatory charging practices.331 Black and
            Hispanic youths are arrested four times more often than Caucasian
            youths, and are far more likely to be prosecuted as adults than Caucasian
            youths who engage in the same conduct. 332 Similarly, adolescent girls
            are far more likely than boys to be arrested and punished harshly for
            running away from home, even though they are more likely than boys to
            be fleeing sexual abuse in the home 333 It is also possible that the client
            may be innocent of an offense listed on his criminal record,334 or a prior


               328. See Joseph Jankovic et al., Toureue 's Syndrome and the Law, 18 J. NEUROPSYCHIATRY &
            CLINICAL NEUROSCIENCE 86, 90 (2006) (noting that individuals with Tourette's syndrome with
             behavioral symptoms of comorbid disorders have a significantly higher risk of becoming involved
             in the criminal justice system).
                 329. See Linda A Teplin, Criminulizing Mental Disorder: The Comparative Arrest Rate of the
             Mentally Ill, 39 AM. PSYCHOL. 794, 800~01 (1984) (suggesting that mentally ill persons undergo
             criminalization with adverse public policy consequences).
                  330. DSM-IV-TR, supra note 24, at 706.
                 331. "Studies of racial profiling have shovm that police do, in fact, exercise their discretion on
             whom to stop and search in the drug war in a highly discriminatory manner." ALEXANDER, supra
             note 135, at 133 (citing DAVID A. HARRIS, PROFILES IN {:-<JUSTICE: WHY RACIAL PROF!UNG
             CANNOT WORK 59 (The New Press 2002)).
                 332. HOWARD N. S!-.l'DER, OFFICE OF JUV. JUST. & DELINQUENCY PREVENTION, JUV. JUST.
             BULL., JUVENILE ARRESTS 2000, at 10 (2002), available at https://www.ncjrs.gov/pdffilesl/
             o.iidp/191 729.pdf; Samuel R. Grosset al., Exonerations in the United States /989 Through 2003, 95
             J. CRIM. L. & CRlM!NOLOGY 523, 549~50 (2005).
                  333. See Alecia Humphrey, The Criminalization of Survival Allempts: Locking Up Female
             Runaways and Other Status Offenders, 15 HASTINGS WOMEN'S L.J. !65, 173· 77 (2004).
                  334. See, e.g., Harlow v. Murphy, No. 05..CV~039~B, 2008 U.S. Dist. LEXIS 124288, at *49~




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                        conviction may be otherwise invalid. 335 Thus, the proper application
                        of this diagnostic criterion is impossible without the benefit of a
                        thorough life history investigation of the client and the community in
                        which he lives.
                              Investigation of the circumstances of each of the client's arrests is
                        also critically important. Some clients have falsely confessed to crimes
                        for a multitude of reasons, including the desire to protect others (for
                        example, to protect a sibling or other loved one). 336 Others have been
                        subjected to coercive interrogation procedures, to which highly
                        suggestible, gullible, developmentally delayed, traumatized, and
                        youthful clients are very vulnerable. 337 Even more common examples
                        from our decades of experience in capital work are de facto
                        consequences of the pervasive effects of poverty (for example,
                        "stealing" food to stave off hunger, breaking into a building to obtain
                        necessary shelter or clothing, and similar such arrests stemming from the
                        effects of poverty, homelessness, mental illness, or substance-related
                        disorders). We have seen many instances where prosecutors or
                        goverrunent experts have labeled defendants "antisocial," ignoring the
                        fact that they had acted in a protective mode, and "stole" to provide for
                        family members, rather than personal gain or profit. 338

                             2. "Deceitfulness, as indicated by repeated lying, use of aliases, or
                                 conning others for personal profit or pleasure. "339
                             This criterion, if applied without attention to context, constitutes
                        highly subjective language and may give rise to what often amounts to


                        50 (D. Wyo. Feb. 15, 2008) {finding counsel ineffective for failing to investigate his client's prior
                        murder conviction and produce evidence that "forensic evidence surrounding the homicide did not
                        point to [the defendant]" and, in fact, implicated two other boys in the homicide).
                           335. See, e.g., Johnson v. Mississippi, 486 U.S. 578,590 (1988) (setting aside a death sentence
                        because defendant's prior conviction, which had been used as an aggravating circumstance, was
                        subsequently reversed).
                           336. Stuart P. Green, Uncovering the Cover-Up Crimes, 42 AM. CRIM. L REV. 9, 16 n.23
                        (2005).
                           337. See GISLJ H. GUOJONSSON, THE PSYCHOLOGY OF lNTERROGATlONS AND CONFESSJONS: A
                        HANDBOOK 408...09 (2003) (noting that verbally impaired individuals are more likely to confess to
                        crimes they did not commit in response to modem interrogation methods); see also Roger Kurian et
                        al., Non"(}bscene Complex Socially Inappropriate Behavior in Tourette's Syndrome, 8 J.
                        NEUROPSYCHIATRY & CLINICAL NEUROSCIENCES 311, 312 (1996) (providing an example of a
                        patient ~ith Tourette's syndrome who spontaneously gave a false confession to police who came to
                        his door to investigate a homicide in the neighborhood).
                            338. See Michael N. Burt, The Importance of Storytelling at all Stages of a Capital Case, 77
                        UMKC L REV. 877,898-900, 909-10 (2009) (describing the life story of capital defendant Alan
                        Quinones-whose parents were so mentally ill and poor that he, as a young man, managed to feed
                        his family by selling drugs-and explaining that his jury unanimously rejected the death penalty).
                            339. DSM~S, supra note 24, at 659.




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           speculation about possible motivations for actions. Many mental health
           symptoms, in the absence of context, may be interpreted as "lying."
           Delusions, for example, are fixed false beliefs,340 but a delusional
           client's expression of false beliefs is likely to be interpreted as a lie.
           Dissociative symptoms prevent a client from recalling information, so
           the client's attempt to fill gaps in memory may produce unintentionally
           false statements of fact. 341 Mood symptoms, such as grandiosity, may
           distort the client's perception of self and others. 342 Victims of extreme or
           chronic trauma, including abuse victims, may make statements that are
           inconsistent with reality for the purpose of self-protection343 As a
           coping strategy of chronic abuse, victims often learn to "lie" as part of a
           protective survival strategy. 344 Other factors which may explain a
           client's false statements include psychotic symptoms-where a client's
           statements represent the fact that they are out of touch with reality345-or
           symptoms of brain dysfunction-such as memory impairments-where
           clients may confabulate to mask severe impairments. 346
                In addition to the symptoms of mental illness that might explain a
           client's perception or expression of facts divergent from reality, other
           factors may also motivate clients to "lie" in order to protect themselves
           from the social stigma or shame and embarrassment associated with their
           condition. In Rompi/la, for example, the client told counsel that his
           childhood was "normal ... save for quitting school in the ninth grade,"
           and he repeatedly sent his lawyers on false leads. 347 He also denied that
           his parents abused him. 348 Yet, post-conviction counsel's investigation
           produced a large body of evidence establishing that Rompilla was raised
           in an impoverished and abusive home, and that he was the victim of
           extreme neglect and maltreatment. 349 Social service records established,

                340. Wayland, supra note 318, at 942 n.83.
                341. DSM-TV-TR, supra note24, at 520.
                342. As noted in the DSM-5 description of a manic episode, "[iJnflated self-esteem is typically
            present, ranging from uncritical self-confidence to marked grandiosity, and may reach delusional
            proportions." DSM-5, supra note 24, at 128. "The expansive mood, excessive optimism,
            grnndiosity, and poor judgment often lead to reckless involvement in activities such as spending
            sprees, giving away possessions, reckless driving, foolish business investments, and sexual
            promiscuity that is unusual for the individual, even though these activities are likely to have
            disastrous consequences ...." !d. at 129. Without proper context, an examiner might subjectively
            and mistakenly interpret such behavior as deceitful, and the DSM-5 provides little specific guidance
            in this regard.
                343. Wayland. supra note 318, at 944-45.
                344. !d. at 947.
                345. See Logan, supra note 308, at 19-4.
                346. See id.
                347. Rompilla v. Beard, 545 U.S. 374, 381 (2005).
                348. Rompil\a v. Horn, 355 F.3d 233, 243 (3d Cir. 2004).
                349. Rompilla, 545 U.S. at 391-92.




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                       among other things, that Rompilla's father beat him with "hands, fists,
                       leather straps, belts and sticks," and "locked Rompilla and his brother
                       Richard in a small wire mesh dog pen that was filthy and excrement
                       filled.'J 50 It is not difficult to imagine a number of reasons that Romp ill a
                       "lied" to his lawyers, even when telling the truth would have produced
                       life-saving mitigating evidence. 351 Counsel should be alert to the
                       possibility that a client's expression of false information is simply an
                       attempt to minimize, normalize, or deny mental illness or a tragically
                       painful history. 352 Of course, Rompilla's borderline mental retardation
                       may also explain his failure to provide accurate and correct information
                       about his upbringing. 353

                             3. "Impulsivity or failure to plan ahead.''354
                             Unless contextualized, a determination that these symptoms are
                       examples of antisocial behavior is often subjective and speculative.
                       Many other possible explanations for these symptoms must be
                       considered and ruled out in order to make an accurate determination. For
                       example, a client with a history of traumatic brain injury or attention
                       deficit hyperactivity disorder ("ADHD") may not have the ability to plan
                       and will often act impulsively. 355 Further, "there is abundant evidence
                       that [clients with intellectual disabilities] often act on impulse rather than
                       pursuant to a premeditated plan, and that in group settings they are
                       followers rather than leaders."356 A client with PTSD might display
                       hyperarousal responses to traumatic triggers that are immediate and
                       seemingly inexplicable if the context is not understood,"' or may be
                       displaying behaviors that reflect a foreshortened sense of future, a
                       symptom frequently seen in highly traumatized individuals."'
                       "Impulsivity and failure to plan ahead" may also be explained by the


                           350. !d. at 392.
                           351. Wayland, supra note 318, at 942 n.82.
                           352. John H. Blume & Pamela Blume Leonard, Capital Cases: Principles of Developing and
                       Presenting Mental Health Evidence in Criminal Cases, CHAMPION, Nov. 2000, at 63, 64.
                           353. See ROBERT B. EDGERTON, THE CLOAK OF COMPETENCE: REVISED AND UPDATED 134
                       (1993).
                           354. DSM·5, supra note 24, at 659.
                           355. Impulsivity is one of the core symptom categories of ADHD, which is categorized as a
                       neurodevelopmental disorder in the DSM.5. DSM·5, supra note 24, at 59-60; see also AM.
                       PSYCHlATRIC Ass'N, HIGHLIGHTS OF CHANGES FROM DSM·IV·TR TO DSM·5, at 2 (2013),
                       available at http://www.psychiatry.orgfd:.m5.
                           356. Atkins v. Virginia, 536 U.S. 304,318 (2002).
                           357. For example, PTSD symptoms may include self-destructive and impulsive behavior,
                       impaired affect modulation, and difficulty completing tasks. DSM·5, supra note 24, at 271·72.
                           358. A sense of foreshortened future may be expressed in an inability to sustain expectations of
                       a career, maniage, children, or nonnallife span./d. at 277.




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            hopelessness, despair, and self-destructive behaviors that may be seen in
            individuals with severe depression."' Highly impulsive behavior, which
            may be interpreted as "failure to plan ahead," is often seen in individuals
            with bipolar disorder, and only a contextualized understanding can help
            to make this distinction. 36" An individual with diffuse brain injury, or
            deficits in frontal or temporal lobe functioning, may also appear
            to be impulsive and fail to plan for future events. Finally, simply
            being youthful is associated with impulsive behavior and failure to
            plan ahead 361

                   4. "Irritability and aggressiveness, as indicated by repeated
                       physical fights or assaults."362
                  Context is critically important to understanding the origins of what
             may be called "irritability and aggression."363 Such behaviors may
             reflect the hyperarousal component of traumatic stress responses,364 and
             are often classic symptoms of brain dysfunction, particularly frontal and
             temporal lobe problems, or classic expressions of mood symptoms as
             seen in depressive, bipolar, and related disorders.365 Irritability and
             aggressiveness can also result from exposure to environmental toxins,
             such as chemicals, lead or other heavy metals. 366 \n addition, evidence of

                 359. !d. at 659. For individuals suffering from a major depressive disorder, "[\Joss of interest of
             pleasure is nearly always present, at least to some degree." !d. at 163. This may be expressed as
             significant withdrawal from many life activities. !d.
                 360. /d. at 659. A classic symptom of a manic episode, "increase in goal-directed activity," is
             often manifested by poor judgment leading to imprudent involvement in activities that may have
             painful consequences without regard for apparent risks. !d. at 124. bnpainnent may be severe
             enough to require intervention to protect an individual from the negative consequences of actions
             resulting from poor judgment. ld. at 129.
                 36l. "[A] lack of maturity and an underdeveloped sense of responsibility are found in youth
             more often than in adults and are more understandable among the young. These qualities often
             result in impetuous and ilkonsidered actions and decisions." Roper v. Simmons, 543 U.S. 55 l, 569
             (2005).
                 362. DSM-5, supra note 24, at 659.
                 363. !d. at 660.
                 364. This is a core symptom category of PTSO that results in symptoms such as difficulty
             fa1Hng asleep, "exaggerated startle response," "hypervigilance," difficulty concentrating, or
             "irritable behavior and angry outbursts." !d. at 272.
                 365. The DSM-5 indicates that many individuals suffering from mood disorders "report or
             exhibit increased irritability (e.g., persistent anger, a tendency to respond to events with angry
             outbursts or blaming others, an exaggerated sense of frustration over minor matters)." See id. at 163.
                 366. See, e.g., David C. Bellinger, The Protean Toxicities of Lead: New Chapters in a Familiar
             Story, 8 lNT't l ENVTL. REs. PUB. HEALTH 2593, 2593 (2011) (discussing "health endpoints
             associated with greater early-life lead exposure in children, including [ADHD]. conduct disorder,
             aggression and delinquency"); R.M. Bowler et al., Neuropsychiatn'c Effects of Manganese on Mood,
             20 NEUROTOXICOtOGY 367, 367 (1999) (discussing fifteen studies in which "{a]dverse mood
             effects of overexposure to Manganese (Mn). . report an association of Mn exposure with adverse
             effects in six dimensions of mood: 1) anxiety, nervousness, irritability; 2) psychotic experiences; 3)




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                        "irritability and aggression" used to diagnosis a client with ASPD is
                        often nothing more than a reflection of the cruel reality of life on the
                        streets for many people living in poverty, in dangerous communities, or
                        in the dangerous environments of the jails and prison in this country. 367
                        Within that cultural context, aggression might be a necessary part of
                        survival, and does not constitute behavior that "deviates markedly from
                        the expectations of the individual's culture."368

                              5. "Reckless disregard for safety of self or others."369
                             Behaviors that appear risky may be better explained by conditions
                        other than ASPD. Such behaviors may reflect the impulsivity seen in
                        clients with attentional problems or deficits in executive functioning.
                        Rash behavior would also be consistent with the dysregulated affect and
                        behavior often seen in people exposed to complex and chronic histories
                        of psychological trauma, or the Jack of insight, called "anosognosia,"
                        that is sometimes seen in individuals with psychotic or mood
                        disorders. 370 Youth with ADHD also often have poor insight into their
                        actions and are poor reporters of their condition. 371 What is often labeled
                        as "reckless disregard for safety," and therefore considered a symptom
                        of ASPD, might also reflect an inability to accurately perceive one's
                        environment. 372 This can occur in individuals with psychotic disorders,
                        mood disorders, or untreated substance abuse disorders. 373 It also may be
                        a manifestation of the adaptive deficits of an individual with intellectual

                        emotional disturbance; 4) fatigue, lack of vigor, sleep disturbance; 5) impulsive/compulsive
                        behavior, 6) aggression hostility''),
                            367. See DSM-5, supra note 24, at 59-60.
                            368. !d. at 645; see, e.g., Harlow v. Murphy, No. 05-CV-039-B, 2008 U.S. Dist. LEXIS
                        124288, at '47 (D. Wyo. Feb. 15, 2008) (explaining that the successful habeas corpus presentation
                        focused on the culture and environment of a maximum security prison and strongly "supported a
                        defense theme that [defendant] is not a dangerous person, but he was in a dangerous place").
                           369. DSM-5, supra note 24, at 659.
                           370. See NATIONAL ALLIANCE ON MENTAL IlLNESS, NAMJ COMMENTS rN TiiE APA'S DRAFT
                        REVISION OF THE DSM-V: ANOSOGNOSIA !, available at http://www.nami.org/Content/
                        ContentGroups/PoJicy/lssues_Spotlights!DSM5/Anosognosia_Paper_4_13 _201 O.pdf (noting that
                        "anosognosia" is not referenced in the DSM-5). "Lack of insight is common in schizophrenia. A
                        patient may not believe that he or she is ill or abnormal in any way." ANDREASEN & BLACK, supra
                        note 307, at 221 (emphasis omitted).
                           371. Russel A. Barkley et a!., Adolescents with ADHD: Patterns of Behavioral Adjustment,
                        Academic Functioning, and Treatment Utilization, 30 J. AM. ACAD. CHILD & ADOLESCENT
                        PSYCHIATRY752, 732-61 (1991).
                           372. DSM-5, supra note 24, at 659.
                           3 73. For example, extremely impaired judgment, disregard for safety, and engagement in risky
                        behaviors are frequently seen in individuals with mood and/or substance abuse disorders. See id.
                        "Research has shown that more than 90% of suicide comp!eters had a major psychiatric illness and
                        that half were clinically depressed at the time of the act . . ." ANDREASEN & BLACK, supra note
                        307, at5S5.




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             or developmental disabilities, or simply the immaturity of a youthful
             offender. 374 In these cases, understanding the context is critical: yet, so
             often it is this context which is lost in how a client's behavior is
             interpreted by the prosecution, jurors, courts, and-unfortunately, all too
             often-the defense.

                   6. "Consistent irresponsibility, as indicated by repeated
                       failure to sustain consistent work behavior or honor
                       financial obligations."375
                  Once again, the language of this criterion is highly subjective.
             Without context, it is impossible to make a reliable and valid
             determination that the criterion of consistent irresponsibility is indicative
             of antisocial behavior. Consider just a few examples: someone who has
             the deficits in adaptive behavior seen in individuals with intellectual or
             developmental disabilities, or who is impaired by mood or psychotic
             symptoms, or by the consequences of severe trauma exposure, may well
             have difficulties meeting the tasks of daily life; difficulties functioning
             in occupational settings; and, consequently, difficulties meeting
             financial, occupational, or social obligations. 376 Quite frankly,
             impairments such as these, and many other supposed symptoms of
             ASPD, are highly consistent with the severe impairments in daily
             functioning that are often present in individuals with various Axis I
             mental disorders, particularly when these disorders are undiagnosed or
             untreated. 377    Individuals     suffering    from    chronic       poverty,
             underemployment, racial discrimination, and lack of socially sanctioned
             occupational opportnnities are also likely to be described by the
             consistent irresponsibility criterion for reasons that have nothing to do
             with antisocial behavior.




                374. The Supreme Court has established that children are "constitutionally different from
             adults for purposes of sentencing" because they have a "•tack of maturity and underdeveloped sense
             of responsibility,' leading to recklessness, impulsivity, and heedless risk-taking," Miller v.
             Alabama, 132 S. Ct. 2455,2464 (2012) (quoting Roper v. Simmons, 543 U.S. 551,569 (2005)).
                375. DSM-5, supra note 24, at 659.
                376. A person with developmental disabilities, for example, has "significant limitations on an
             individual's effectiveness in meeting the standards of maturation, learning, personal independence,
             and/or social responsibility that are expected for his or her age level and cultural group, as
             detennined by clinical assessment and, usually, standardized scales." Ellis & Luckasson, supra note
             327, at 422 (quoting AM. ASSOC. ON MEI><lAL DEFICIENCY, CLASSIFICATION iN MENlAL
             RETARDATION 11 (Herbert J. Grossman ed., 1983)).
                377. DSM·5, supra note 24, at 662-63.




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                            7. "Lack of remorse, as indicated by being indifferent to or
                                rationalizing having hurt, mistreated, or stolen from another."378
                           A finding that the client lacks remorse is almost always based on an
                      observation that he or she does not display emotion that would be
                      expected in a pat1icular situation, or by a client's failure to voice his or
                      her remorse for a crime or crimes that have occurred and the impact on
                      the victims of those crimes. Failure to display emotional responses that
                      we are societally conditioned to expect, however, is itself often a
                      hallmark feature of a nange of mental disorders and other severely
                      disabling conditions. 379 For example, psychic numbing is a hallmark
                                                     °
                      symptom of PTSD. 38 Flat affect is often seen in severe mental disorders
                      such as mood disorders (for example, major depression) or psychotic
                      disorders (for example, schizophrenia) 381 Absence of emotional
                      expression may be seen in people with severe brain dysfunction, people
                      with neurodevelopmental disabilities-such as autism spectrum
                      disorders-and in people who are inappropriately medicated or
                      ovem1edicated. 382 Absence of emotional expression may reflect cultural
                      nonns, for example, individuals from cultures where emotional stoicism
                      is a reflection of loyalty to one's culture and family, and is a sign of
                      pride and decency-rather than a lack of remorse 383 In addition,
                      someone who has faced a lifetime of racism might not be willing to
                      share his or her emotions with authority figures such as representatives


                          3 78. !d at 659.
                          379. Incongruent emotion is commonly misinterpreted in capital clients; counsel must
                      understand that it is a common symptom of mental irnpainnent. Wgan, supra note 308, at 19-5.
                          380. DSM-5, supra note 24, at 271-72, 275. Psychic numbing is "described as a diminished
                       responsiveness to the external world." Norah C. Feeny et al., Exploring the Roles of Emorional
                      ,\'umbing, Depression, and Dissociation in PTSD, I 3 J. TRAUMA TlC STRESS 489, 489 (2000).
                          381. DSM·5, supra note 24, at 101, 163. For example, "affective flattening" is a common
                      negative symptom of schizophrenia; social wlthdrawal and Jack of interest or pleasure is one of the
                      key manifestations of how a major depressive episode might be expressed. See A.N"DREASEN &
                      BLACK, supra note 307, at 219·20.
                          382. DSM-5, supra note 24, at 50, 53. The influence of medications can be so pronounced that
                      the Supreme Coun has found that the Due Process Clause is implicated by the involuntary
                      administration of medication to a defendant in a criminal case. See Riggins v. Nevada, 504 U.S.
                      127, 143 {1992) (Kennedy, J., concurring). "By administering medication, the State may be creating
                      a prejudicial negative demeanor in the defendant ·- making him look nervous and restless, for
                      example, or so calm or sedated as to appear bored, cold, unfeeling, and unresponsive. . That such
                      effects may be subtle does not make them any less real or potentially influential." !d.
                          383. Cultural differences can interfere with the reliability of medical and mental health
                      assessments of the c!ient. See DSM-IV-TR, supra note 24, at xxx.iv. Because culture defines the
                      "'spectrum of 'nonnal behaviors' as we!J as thresholds of tolerance for diverse 'abnonnalities,"'
                      unfamiliarity "w"ith the nuances of an individual's cultural frame of reference may incorrectly judge
                      as psychopathology those nonnal variations in behavior, belief, or experience that are partiCular to
                      the individual's culture." SADOCK & SADOCK, supra note 307, at 168~69; see DSM-IV·TR, supra
                      note 24, at xxxiv.




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             of law enforcement, or show emotion in a courtroom filled with
             predominantly majority culture judges, jurors, and spectators. 384 Finally,
             absence of the expression of remorse may reflect the fact that an
             individual has been falsely charged or falsely convicted of a crime. 385

                                    C. Additional Problems with Psychopathy
                    A similar contextualized analysis is relevant in assessing
              conclusions that an individual is a psychopath. Such determinations are
              most often based on the scores from the PCL-R's twenty-item checklist,
              which, "unfortunately, often lead to misdiagnosis of bipolar patients"
              because of "the overlap of symptoms of mania and hypomania with the
              criteria used by Hare to diagnose psychopathy."386 All clinicians
              recognize that "during manic or hypomanic episodes, many individuals
              commit antisocial acts, violent and non-violent."387
                    Three items from the PCL-R commonly attributed to capital
              defendants are representative of the problem: "[g]libnesslsuperficial
              charm," "[p]arasitic lifestyle," and "[l]ack of realistic, long-term
              goals. "" 8 Will em H. J. Martens notes that Hare does not define
              "[g]libnesslsuperficial charm" precisely, and asks how it can be
              "measured in an objective and reliable way": "How does the investigator
              know if the charm of a particular patient is superficial enough to be
              pathological?" 389 Martens points out that these characteristics:
                     can contribute substantially to academic, vocational and even social
                     success and status and these features are rather common and widely
                     accepted as necessary tools for surviving in this complicated modem

                  384. ABA GUIDELINES, supra note 18, Guideline 10.Il(F)(2), at lOSS-56 ("Counsel should
              consider ... (e]xpert and lay witnesses ... to provide ... cultural or other insights into the client's
              mental and! or emotional state and life history."}; see also id. Guideline 4.1 cmt., at 9S7 (noting that
              "it might wen be appropriate for counsel to retain an expert from an out·of-state university familiar
              with the cultural context by which the defendant was shaped"); id Guideline 10.5 cmt., at 1007.08
              ("There will also often be significant cultural and/or language baniers between the client and his
              lawyers. ln many cases, a mitigation specialist, social worker or other mental health expert can help
              identify and overcome these barriers, and assist counsel in establishing a rapport with the client.");
              id. Guideline I0. 7 cmt., at 1026 ("[C]ounsel must team about the client's culture.").
                  385. Since 1973, 142 people have been released from death row based on new evidence
              establishing innocence. Innocence and the Death Penalty, DEAnl PENALTY INFo. CENTER,
              http:f/www.deathpenaltyinfo.orglinnocence-and-death-penalty (last updated Feb. 11, 2013).
                  386. Lewis, Adult Antisocial Behavior, supra note 34, at 2260. "Among the manic traits that
              Hare lists as psychopathic are glibness, superficial chann, grandiosity and exaggerated sense of self-
              worth, need for stimulation, conning and manipulative behavior, promiscuous sexual behavior,
              impulsivity, irresponsibility, poor behavioral controls, early behavioral problems, and lack of
              realistic long-tenn goals." ld.
                  387. /d.
                  388. Martens, supra note 189, at 457-58.
                  389. !d. at 4S7.




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                              world. Why should such socially accepted traits (almost every
                              president in the modern world needs and shows such charm and
                              glibness) be rated as pathological? 390
                        It is difficult to imagine objective criteria for distinguishing a person
                        who is glib and superficially charming for manipulation purposes from
                        one who is socially fluent and genuinely channing-assuming that there
                        actually is any difference at all. Martens raises similar issues with the
                        "parasitic lifestyle" criterion, explaining:
                              Dependence on others ... might not be a matter of free choice. A
                              parasitic (severely prejudicial tenn) lifestyle suggests a harmful
                              planning of misuse of other persons. This is not the case in most of the
                              psychopaths we studied. Those who demonstrated a "parasitic
                              lifestyle" are not able to cope with the world, because of their
                              emotional suffering and social-emotional and moral incapacities and
                              they believe that they can only suiV'ive in this way. For example, some
                              patients were unable to keep jobs despite their good intentions because
                              of social interaction problems and the consequences of other diagnostic
                              features which are frequently neurobiologically determined. 391
                             Finally, Martens is critical of the "[!Jack of realistic, long-term
                        goals" criterion. 392 He asks, " [w]hat are realistic long-term goals?'~ 93
                        Martens points out: "In the eyes of normal people many brilliant
                        scientists and artists (until they became famous or recognized) did not
                        have realistic goals."394 Again, without the context of a complete life
                        history investigation, an examiner might find this criterion met in the
                        case of a client who is exhibiting hallmark features of PTSD, which may
                        often include a foreshortened sense of his or her future stemming from
                        "negative alterations in cognitions and mood associated with the
                        traumatic event(s),"395 including but not limited to:
                                 Persistent and exaggerated negative beliefs or expectations about
                              oneself, others, or the world (e.g. "I am bad," "No one can be trusted,"
                              "The world is completely dangerous," "My whole nervous system is
                              pennanently ruined").

                            390. !d
                            391. !d. at 458 (citations omitted). While this discussion takes as a given that individuals
                        labeled "psychopaths" are indeed so, please see the above discussion contextualizing individual
                        criteria of ASPD for a more thorough discussion of alternative explanations for what is supposedly a
                        "parasitic lifestyle," including intellectual disabilities, executive dysfunction, post trnurnatic stress
                        symptoms, and symptoms of severe mood or psychotic disorders. See supra text accompanying
                        notes 323·82.
                            392. Martens, supra note 189, at 458.
                            393. !d.
                            394. !d.
                           395. DSM·S, supra note 24, at 271.




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                      Persistent, distorted cognitions about the cause or consequences of
                  the traumatic event(s) that lead the individual to blame himself/herself
                  or others.
                      Persistent negative emotional state (e.g., fear, horror, anger, guilt,
                  or shame).
                      Feelings of detachment or estrangement from others.
                      Persistent inability to experience positive emotions (e.g., inability
                  to experience happiness, satisfaction, or loving feelings). 396
             Indeed, given the life circumstances of many capital defendants, and the
             pervasiveness of mental and emotional disabilities that are common
             among our clients, it is difficult to imagine long-term life goals that
             would be realistic.
                   Just as with the criteria for diagnosing ASPD, in the absence of
             meaningful context, the PCL-R checklist often amounts to subjective
             and demeaning value judgments that are prone to mistaken
             interpretation. This is particularly the case when assessments are not
             culturally competent and lack critical context derived from a thorough
             life history investigation. What is the objective distinction between
             narcissism and grandiosity, and how can it be drawn reliably in the
             absence of a thorough life history? When is lying "pathological," and
             when is it a learned survival strategy? How can a clinician know that a
             capital defendant lacks remorse, guilt, or empathy, or whether his lack of
             emotion is better explained by the psychic numbing of PTSD, or
             flattened affect that accompanies schizophrenia or dementia? Because of
             the serious consequences of such a mistake in any setting, clinical or
             forensic, "the psychiatrist given the task of evaluating an offender,
             especially an offender deemed obnoxious or troublesome, must take care
             not to write off such an offender as simply psychopathic or
             antisocia\." 397 In each individual case, the difference between telling the
             client's life story and allowing him or her to fall victim to an unreliable
             dehumanizing "psychopath" stereotype is simply understanding the
             difference between objective fact (for example, absence from school)
             and the subjective interpretation of that fact (for example, truancy, a
             symptom of conduct disorder). 398 The goal of effective capital
             representation is to search diligently for the humanizing and mitigating
             explanation for the client's behavior and demeanor (for example, the
             client skipped school to protect his sister from their abusive father). "A
             careful history regarding mood and behaviors, as well as a detailed


                396. ld. at 272.
                397. Lewis, Adult Antisocial Behavior, supra note 34, at 2260.
                398. Bendelow, supra note 138, at 546.




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                       family history, will enable the conscientious psychiatrist to detennine to
                       what extent, if any, a mood disorder or some other potentially
                       remediable psychiatric disorder may underlie the antisocial behaviors
                       that brought the individual into conflict with the law."399 It is for this
                       reason that the standards of capital defense pmctice, as described in the
                       ABA and Supplementary Guidelines, require the defense team to
                       thoroughly investigate the client's life story, and to do so with the
                       assistance of a mitigation specialist who is "qualified by training and
                       experience to screen individuals for the presence of mental or
                       psychological disorders or impairments."400

                                                                  V. CONCLUSION

                            In summary, there are enonnous contextual problems that plague
                       mental health evaluations and prosecutorial characterizations of
                       individuals who are capitally charged and convicted, and who are often
                       inappropriately labeled as antisocial or psychopathic. The motivation
                       for, and recognition of, the need to contextualize is easily lost, in part
                       because capital defendants are overwhelmingly impoverished and
                       disproportionately minorities; and often have multigenerational family
                       histories of racial discrimination and disenfranchisement 401 The best
                       antidote to the influence of prejudicial psychiatric labels is a compelling
                       mitigating narrative based on a thorough life history investigation
                       which uncovers humanizing conditions and events in the client's
                       life that demonstrate his human complexity, including the mental,
                       emotional, or developmental impairments which he has struggled to
                       overcome. 402 A thorough and methodical ABA and Supplementary
                       Guidelines-based approach to investigating a client's life history will
                       protect the client from the dehumanizing inferences that flow from being
                       labeled antisocial.

                          399. Lewis, Adult Anrisocial Behavior, supra note 34, at 2260.
                          400. ABA GUIDELINES, supra note 18, Guideline 4.l(A)(2), at 952; see also id. Guideline
                       !0.4(C)(2)(b), ,!1000.
                          401. !d. Guideline 10.5 cmt., at 1007; Haney, The Social Context, supra note 43, at        562~63,
                       579.
                          402. See Haney, The Social Context, supra note 43, at 559 (examining the life histories of
                      capital defendants "leads us to conclusions about the causes of crime and the culpability of capital
                      offenders that are very much at odds with the stereotypes created and nourished by the system of
                      capital punishment that prevails in our society"). For decisions overturning death sentences that had
                      been based in pan on diagnoses of ASPD, where post-conviction investigations provided substantial
                      evidence contextualizing and humanizing defendants' life histories, see, for example, Rompilla v.
                      Beard, 545 U.S. 374, 39!-93 (2005); Stanke\\-itz v. Wong, 698 FJd 1163, 1164-65 (9th Cir. 2012);
                      Blystone v. Hom, 664 F.3d 397,426-27 (3d Cir. 2011); Cooper v. Sec'y, Dep't ofCorr., 646 F.3d
                      1328, 1345-47 (lith Cir. 2011); Goodwin v. Johnson, 632 F.3d 301,319-21,324,326 (11th Cir.
                      201 J).




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                  Haney suggests that the system of capital punishment thrives on
            procedures that dehumanize the defendant, resulting in "jurors' relative
            inability to perceive capital defendants as enough like themselves to
            readily feel any of their pains, to appreciate the true nature of the
            struggles they have faced, or to genuinely understand how and why their
                                                                                   403
            lives have taken very different courses from the jurors' own. "
            Through the inappropriate use of controversial constructs, such as ASPD
            and psychopathy, prosecutors "demoniz[e]the perpetrators of violence
            [and] facilitate their extermination at the hands of the state."404 Haney
            explains that this "is why 'humanizing' capital clients is so important in
            penalty trials.'"'05
                  Put simply, every capital defendant possesses "the possibility of
            compassionate or mitigating factors stemming from the diverse frailties
            of humankind."406 Justice Sandra Day O'Connor acknowledged that the
            process of understanding defendants' disadvantaged backgrounds or
            their emotional or mental impairments is essential to the
            constitutionally-required "moral inquiry into the culpability of the
            defendant.'"'07 This Eighth Amendment requirement triggers a Sixth
            Amendment duty, on the part of defense attorneys, to assist jurors with
            this inquiry by developing mitigation evidence through a detailed, socio-
            historical analysis of the capital defendant's life.'08 Therefore, "[t]he

                403, Craig Haney, Condemning the Other in Death Penalty Trials: Biographical Racism,
            Structural Mitigation and the Empathic Divide, 53 DEPAUL L. REv. 1557, l558 (2004) [hereinafter
            Haney, Condemning the Other].
                404. Haney, The Social Context, supra note 43, at 548.
                405. Haney, Condemning the Other, supra note 403, at 1558, 1581. Ninth Circuit Court of
            Appeals Judge Alex Kozinski recently derided the importance of humanizing capital clients,
            suggesting that it "may be the wrong tactic in some cases because experienced lawyers conclude
            that the jury simply won't buy il" Pinholster v. Ayers, 590 F.3d 651, 692 (9th Cir. 2009) (Kozinski,
            J., dissenting), rev'd sub nom Cullen v. Pinholster, 131 S. Ct. 1388 (2011 ), To support his view that
            trial counsel's minimal investigation and pursuit of a "family sympathy defense" was good enough,
            Judge Kozinski relied on two California cases, State v, Cooper, 809 P.2d 865 (Cal. 1991), and In re
            Visciorti, 926 P.2d 987 (Cal. 1996), for the proposition that a "family sympathy defense" was
            consistent with prevailing standards of perfonnance in capital cases. Pinholster, 590 F.3d at 707.
            Both of those cases ended in death sentences: in Cooper, the jury was expressly not pennittcd to
            consider family sympathy evidence. 809 P.2d at 908-09. In In re Visciotti, the trial attorney had
            never before handled a capital trial, and could point to no case in which a family sympathy defense
            had succeeded. 926 P.2d at 993. Such anecdotal failures do not evidence a standard ofperfonnance.
            See Russell Stetler & W. Bradley Wendel, The ABA Guidelines and the Norms of Capital Defense
            Representation, 41 HOFSTRA L. REv. 635, 677-79 (2013). Further, scrutiny of the complete record
            in Pinhofster makes our point; based on trial counsel's superficial and shallow pretrial investigation,
            the defense psychologist diab>nosed him as a psychopath. See 590 F.3d at 659~61. A more thorough
            life history investigation produced evidence that the defendant was severely beaten by his stepfather
            as a child, and had epileptic seizures, brain damage, and bipolar disorder. !d.
                406. Woodson v. North Carolina, 42S U.S. 280, 304 (1976).
                407. California v. Bro\VTI, 479 U.S. 538, 545 (1987) (O'CoMor, J., concurring).
                408. See Wiggins v. Smith, 539 U.S. 5!0, 519~23, 536 (2003).




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                      social history of the defendant has become the primary vehicle
                      with which to correct the misinfonned and badly skewed vision of the
                      capital jury."""
                           The ABA and Supplementary Guidelines establish current and
                      long-established standards of death penalty practice. They provide a
                      necessary road map with which to enhance the fairness and reliability of
                      capital sentencing proceedings in numerous ways that are important to
                      protecting the client from misleading, incomplete, and damaging
                      assessments. The ABA and Supplementary Guidelines help capital
                      defense teams explain to judges and funding authorities why more time
                      and resources are necessary to properly defend the client, particularly
                      when it comes to investigation of the client's life history. They also
                      specify necessary qualifications of capital defense team members,
                      including the admonition that at least one member of the team be
                      qualified, by training or experience, to identify symptoms and
                      characteristics of mental and emotional impainnent. If trial counsel fails
                      to assemble a team with the necessary skills, resources, and time, the
                      ABA and Supplementary Guidelines provide a template for post-
                      conviction counsel to challenge substandard work. It is the authors'
                      experience that the client's humanity is established, and the fallacies of
                      the ASPD rubric are exposed, when capital defense teams comply with
                      the ABA and Supplementary Guidelines to conduct a thorough
                      investigation of the client's life history.




                          409. Haney, The Social Context, supra note 43,     559~60.




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  The Relationship Between PTSD and Suicide- PTSD: National Center for PTSD                                                  Page I of 5




   VA   >>   Health Care>> PTSO: National Center for PTSO   >>   Professional>> The Relationship Bet\Neen PTSD and Suicide



   PTSD: National Center for PTSD

    The Relationship Between PTSD and Suicide
    William Hudenko, PhD, Beeta Homaifar, PhD, and Hal wortzel, MD

    This fact sheet explores the relation between PTSD and suicide and provides information that helps with
    understanding suicide.


    To he) p prevent suicide
    Know about the suicide warning signs and the National Suicide Prevention Lifeline: 1-800-273-TALK (1-800-
    273-8255). To be routed to the Veterans Crisis line, dia/1 after being connected.

   While helping a suicidal person can be a difficult process, remember that the assistance you provide could
   save someone's life. If you think someone may be suicidal, you should directly ask him or her. Contrary to
   popular belief, asking someone if they are suicidal will not put the idea in their head.

   Often the most difficult part of obtaining treatment is the initial call to a mental health professional. It is usually
   eas"1er for a suicidal individual to accept professional help if they have assistance with this part of the process.
   For help making referrals see Where to Get Help.


    Hmv common is suicide?
   It is challenging to determine an exact number of suicides. Many times, suicides are not reported and it can
   be very difficult to determine whether or not a particular individual's death was intentional. For a suicide to be
   recognized, examiners must be able to say that the deceased meant to die. Other factors that contribute to
   the difficulty are differences among states as to who is mandated to report a death, as well as changes over
   lime in the coding of mortality data (1 ).

   Data from the National Vital Statistics System, a collaboration between the National Center for Health
   Statistics of the U.S. Department of Health and Human SeiVices and each US state, provides the best
   estimate of suicides (2). Overall, men have significantly higher rates of suicide than women. This is true
   whether or not they are Veterans (3). For comparison:

               From 1999-2010, the suicide rate in the US population among males was 19.4 per 100,000, compared
               to 4.9 per 100,000 in females.

               Based on the most recent data available, in fiscal year 2009, the suicide rate among male Veteran VA
               users was 38.3 per 100,000, compared to 12.8 per 100,000 in females.



   Does trauma increase an indh·idual's sukide risk?
   A body of research indicates that there is a correlation between many types of trauma and suicidal behaviors.
   For example, there is evidence that traumatic events such as childhood abuse may increase a person's
   suicide risk (4,5). A history of military sexual trauma (MST) also increases the risk for suicide and intentional
   self-harm, suggesting a need to screen for suicide risk in this population (6)_

   Importance of combat exposure in Veterans




 http://www, ptsd. va.gov /pro fessiona I/co-occurring/ptsd-su icide .asp                                                    10/12/2016
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   Though considerable research has examined the relation between combat or war trauma and suicide, the
   relationship is not entirely clear. Some studies have shown a relationship while others have not ( 1). There is
   strong evidence, though, that among Veterans who experienced combat trauma, the highest relative suicide
   risk is observed in those who were wounded multiple times and/or hospitalized for a wound (7). This suggests
   that the intensity of the combat trauma, and the number of times it occurred, may influence suicide risk in
   Veterans. This study assessed only combat trauma, not a diagnosis of PTSD, as a factor in the suicidal
   behavior.


   Does PTSD increase an individual's suicide risk?
   Considerable debate exists about the reason for the heightened risk of suicide in trauma survivors. Whereas
   some studies suggest that suicide risk is higher among those who experienced trauma due to the symptoms
   of PTSD (8-10), others claim that suicide risk is higher in these individuals because of related psychiatric
   conditions (11, 12)_ However, a study analyzing data from the National Comorbidity Survey, a nationally
   representative sample, showed that PTSD alone out of six anxiety diagnoses was significantly associated with
   suicidal ideation or attempts (13). While the study also found an association between suicidal behaviors and
   both mood disorders and antisocial persor:ality disorder, the findings pointed to a robust relationship between
   PTSD and suicide after controlling for comorbid disorders. A later study using the Canadian Community
   Health Survey data also found that respondents with PTSO were at higher risk for suicide attempts after
   controlling for physical i!lness and other mental disorders (14).

   Some studies that point to PTSD as a precipitating factor of suicide suggest that high levels of intrusive
   memories can predict the relative risk of suicide (9). Anger and impulsivity have also been shown to predict
   suicide risk in those with PTSO (15). Further, some cognitive styles of coping such as using suppression to
   deal with stress may be additionally predictive of suicide risk in individuals with PTSO (9).

   PTSD and suicide risk in Veterans
   Other research looking specifically at combat-related PTSD in Vietnam era Veterans suggests that the most
   significant predictor of both suicide attempts and preoccupation with suicide is combat-related guilt (16). Many
   Veterans experience highly intrusive thoughts and extreme guilt about acts committed during times of war.
   These thoughts can often overpower the emotional coping capacities of Veterans.

   With respect to OIFIOEF Veterans, PTSD has been found to be a risk factor for suicidal ideation (17).
   Subthreshold PTSD also carries risk. A recent study found that among OIFIOEF Veterans, those with
   subthreshold PTSD were 3 times more likely to report hopelessness or suicidal ideation than those without
   PTSD (18).


   Can PTSD treatment help?
   Current practice guidelines for treatment of PTSD indicate that trauma-focused therapies are not
   recommended for individuals with "significant suicidality" (19,20). Because "suicidality" is a vague term and
   there is no guidance for what significant suicidality means, we interpret this recommendation to pertain to
   actively suicidal patients, or those in an acute clinical emergency for whom suicidality should be addressed
   without delay. Providers must therefore use clinical judgment prior to initiating and throughout trauma-focused
   therapy.

   Individuals with PTSD who present with intermittent but manageable suicidal thoughts may benefit from
   trauma-focused therapy. Two effective treatments for PTSD, Cognitive Processing Therapy (CPT) and
   prolonged exposure (PE) have been shown to reduce suicidal ideation. A recent study that randomized
   women who experienced rape into CPT or PE treatment found that reductions in PTSD symptoms were
   associated with decreases in suicidal ideation throughout treatment. The reductions were maintained over a
   5-10 year follow-up period. The effect of PTSO treatment on suicidal ideation was greater for women who
   completed CPT (21 ). Further research is needed to provide additional evidence in other populations.


   Suicide as a traumatic event




 http://www. ptsd. va.gov /professional/ co-occurring/ptsd-suicide.asp                                   10/12/2016
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   Researchers have also examined exposure to suicide as a traumatic event. Studies show that trauma from
   exposure to suicide can contribute to PTSO. In particular, adults and adolescents are more likely to develop
   PTSD as a result of exposure to suicide if one or more of the following conditions are true: if they witness the
   suicide, if they are very connected with the person who dies, or if they have a history of psychiatric illness (22-
   24). Studies also show that traumatic grief is more likely to arise after exposure to traumatic death such as
   suicide (25,26). Traumatic grief refers to a syndrome in which individuals experience functional impairment, a
   decline in physical health, and suicidal ideation. These symptoms occur independently of other conditions
   such as depression and anxiety.

   VA developed fact sheets to share with family members of Veterans who have made a suicide attempt.
   Products include guides for talking about a suicide attempt with children and are available in Spanish.
   Although these resources were created with military families in mind, the material includes resources and
   information that may be useful for civilians as well.


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     The National Center for PTSD does not provide direct clinical care, individual referrals or benefits information.

        For help please see:
        Where to Get Help for PTSD or
        Get Help w1th VA PTSD Care, Benefits, or Claims

        For Web site help: Web Policies


        PTSO Information Voice Mail·
        (802) 296-6300
        Contact Us: ncptsd@va.gov
        Also see: VA Mental Health



        Connect with us




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                        STATE OF GEORGIA                      )
                                                              )
                        COUNTY OF CLAYTON                     )

                                                         DECLARATION OF DAR·RELl WASHINGTON
                                   My name is Dar·Rell Wash•ngton
                                   to g1ve this declaration.      · I am over the age of 18 and otherw•se competent
                       1.          I live in Atlanta, Georgia.

                                   I am married to Christ h W
                                   cousin. Christy is lh dop er ash•ngton ("Chnsty"). who is Steven Nelson·s maternal
                                                        e aughter of Donald James and l1nda Whelchel.
                                 Kathy James and I b 0 th
                                 Kathy w t t              Used to work at Amencan Airlones in Texas At one po.nt,
                                 Ok/ h en            °
                                               get her son, Steven Nelson, from a juven1le detent1on center in
                                    a oma when Steven was fourteen or fifteen years old Prior to th1s Kathy had
                                 never    f                      .                       ·           ·
                                              men loned that she had children even though it was   very common for everyone
                                 to talk about their kids at work. I was surprised to find out about Steven, and I thought
                                 It was really odd Kathy hadn't mentioned him or her other children.

                                I later met Steven myself, through my wife, Christy.

                               , Steven stil!c!<; me as a good kid with potential, aft'~ wa~ ne.er-gMUl
                               'll;l~\~a•H>egleeted. I thmk he was bored and lackmg direction. I always fen
                                 bad for him and tried to make time for him. He stayed with my wife and me for a brief
                                 period of time. I could tell that Steven was craving a father figure, but had none.
{) t-J           1             V\lhen S~evea...amt._Kathy moved to Texas, Kathy didn't give Steven the attention he
he vJ 0>.S   N<jl:':   fr>J     deserved because~e was always working - sometimes 2 and 3 jobs at a time.
                                During this time when Steven needed his mother the most, she wasn't there for him.
                               Steven was a young man all bottled up but trying to come into his own. He had to
                               look outside his home for attention, and got in with a bad crowd as a result of that.
                               Steven clearly wanted more than anything to fit in and tried to please people so he
                               would be accepted.

                              Steven started getting into trouble soon after he got to Texas and fell in with the
                              wrong sort of people.

                              1b       r     e Steven was pressured by people he was around to steal things. I think this
                                   e   ':~y    Steven stole a car from Donnie, Christy's father, in Ada. Oklahoma. I don't
                              ~~:k         Steven was a terrible person for doing that, just desperate and scared.

                              After Steven stole his uncle's car, 1 believe that his family was extremely angry at him,
                              and that they wrote him off. They didn't understand what he was gotng through.
                                                               .   . T           t long after that At that time. Christy
                            . Steven was put in juvenile detentton In t· exas "':noved back St~ven was nineteen or
                            . and I moved away from Texas. By the !me we                      • .
                             twenty years old.




                                                                                                                       Initials


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         Steven has done some things that make me wonder whether he has mental hea:th
         problems. Once, When Steven was fourteen or fifteen, I was lifting weights wrth my
         brother, and I saw Steven looking in the bathroom mirror talking to himself.

         Another instance that made me suspect Steven had mental problems was years later
         when Steven was nineteen or twenty. Christy and 1 had just moved back to Texas. I
         saw Steven walking down the street, and gave him a ride. I barely recogmzed Steven.
         He looked completely zoned out, like he was in Ia Ia land. Steven was Just
         somewhere else mentally.

         Had 1 been asked, I would have been able and Wlltng
                                                       • 1• to tesrfy
                                                                   1 to the information
         contained in this statement.



                                                                           and my address is
    name is Dar-Rell Washington, my d~t;~~~~rt~ ~ave read all14 paragraphs of th~ above
                                                   .   .   1   I     .   .

My
639 Garden Walk Blvd., Atlanta, Ge~trg~~ pe~urY. that the foregoing is true and corre .
statemen t and I declare • under pena Y


Executed            ffo.
           on t h e -
                           day of October, 2016.


                                                                             Dar-Rell Was '




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  Psychological Evaluation of Steven Nelson -- Preliminary Repo1t



  Psychological Evaluation of Steven Nelson-- Preliminary Report

  Dates of Evaluation: 10/3/16 and 10/4116
  Evaluation Conducted By: Bekll Bradley, Ph.D., Clinical Psychologist
  Referral Question
           I was contacted by cuiTent cotmsel for lvfr. Steven Nelson (D.O.B.:./87) and
  asked to identifY and evaluate familial, social, educational, psychological, msl!tutional
  and other factors that influenced development, behavior and fimctioning across the course
  of his life. In particular, I was asked to detennine whether he was exposed to violence,
  maltreatment and/or tmUilla as a child and adolescent and, if so, to assess the degree of
  exposure to violence, maltreatment and trauma and to evaluate any effects on of this
  exposure on his subsequent psychological and behavioral fimctioning.
  Executive Summary
         I formd that Steven Nelson has suffered extreme childhood tmuma and adversity,
  which has likely resulted in mnecognized and rmtreated tratmia-related symptoms
  including symptoms of posttrauniatic stress disorder (PTSD). Steven also exhibits
  characteristics of dissociative behavior, bipolar and/or other mood disorders (such as
  major depression) that are present at increased rates among individuals who experienced
  childhood trauma. It is my opinion that a failtne to take into the accormt the influence of
  eady tramnaladversity and PTSD is likely to have led to an inappropriate assessment of
  Steven as having antisocial personality disorder
         In my time with Steven, and my extensive review of records Jiom his childhood, I
  found that Steven experienced:
         •   Pltysical cltild abuse at the hands of his mother, his step-father, and at least
             one of his mother's boyfiiends;
         •   Se.>:ual abuse by one of his mother's friends with whom Steven would be left
             alone;
         •   Emotional abuse by his mother, who would regularly demean him, and his
             absentee father, who would consistently break pmm.ises to spend time with
             hiru;
         •   Emotio11al a11d physical11eg/ect from a home in which he was often left alone
             at a yormg age, intennittent hunger and lack of basic child care and frequent
             tnoves;
         •   El:posure to violeuce in his home, including mm1erous fights between his
             mother and her various romantic pat1ners, and exposure to violence against
             him and his siblings; and
         •   Other trauma, including the effects of spending most of developmental years
             in state custody, exposure to violence in juvenile correctional facilities, the
             effects of being born into a family with a histoty of mental illness and criminal
             behavior, and the trauma associated with his raciaVethnic background.




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  Psychological Evaluation of Steven Nelson -- Preliminary Report



  Assessments Conducted and Materials Reviewed
           I conducted two clinical interviews of Mr. Steven Nelson (on I 0/3/16 and
  10/4/16). The assessments were conducted at the Polunsky Unit of the Texas Department
  of Criminal Justice. Across the course of these two clinical interviews I spent
  approximately 8.5 hours assessing Steven. Additionally, I reviewed records documenting
  his psychosocial history including school records, medical records, law entorcement and
  institutional records, court records and sworn statements from his family members and
  other lay witnesses.
  Clinical Interview with Mr. Nelson
           At the time of the clinical interview, Steven was dressed in prison issued clothing.
  I informed him that I had been asked to evaluate him by his legal counsel. He was aware
  that tor this reason information gained in my evaluation would not be confidential. He
  agreed to the assessment. During the assessment, Steven appeared alert and actively
  responded to all of my questions over the course of the two-day evaluation. During the
  evaluation he was noticeably vigilant to his environment- fi·equently looking at the door
  and the window, and monitoring the people and the noises in the environment. At times
  he became distracted from the interview because of his attention to other factors in the
  environment. However, he was able to redirect his attention to the interview once he had
  determined the source of the noise or activity that was drawing his attention. There were
  some points in the interview when he didn't want to talk about some topics and he would
  look away from me or be delayed in his response. In some cases he would tel\ me that he
  didn't want to continue to discuss a specific topic.
  Overview of Steven's Social/Familial Background and Childhood/Adolescent
  Development
           Steven was born onB/87 in Ada, Oklahoma. His family racial/ethnic
  background is both African American and American Indian. Specifically, his family has
  ties to both the Choctaw and Chickasaw Nations. Steven has a Certificate of Citizenship
  in the Chickasaw Nation and he received health care services via the Chickasaw Nation.
  He has an older half brother (Timothy James, D.O.B.:B/79), an older sister (Kitza
  (Toni) Nelson, D.O.B.:-/81) and two younger half siblings (Demarcus Nelson and
  Porsche Nelson). Steven and his older half brother have the same mother while he and
  his younger half siblings have the same father. Steven's older brother, Timothy, did not
  reside with his mother and siblings when he was young, rather he lived with his mother's
  extended family. The reasons tor this are not entirely clear but may have been related to
  the fact that his mother became pregnant with Timothy when she was a teenager and that
  Timothy's father was White. When Steven first met Timothy while visiting his extended
  family, he was not aware that Timothy was his older brother. Eventually, Timothy
  moved in with Steven,his mother, and his half-sister Kitza. Steven's older sister, Kitza
  (who changed her name from Toni) became deaf at a young age. She was sent to a
  boarding school for deaf children. For this reason, she would only be home with Steven
  on weekends or during summers. Despite this, she and Steven formed a close bond.
  Steven was the member of the family who learned to communicate with Kitza using sign
  language and would serve as an interpreter tor her when she was home.


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  Psycl•ological Evaluation of Steven Nelson -- Preliminary Report



  Over the course of Steven's childhood he moved numerous times. He remembers living
  in many different houses/apm1ments. It appears that he rarely remained at one residence
  for much longer than a year or two. In addition, throughout Steven's childhood, his
  mother Jived with multiple men, including his father, his stepfather, Romero, and several
  others. Some of his most positive memories of his childhood were of time spent with his
  grandparents, aunts, uncles, and cousins who "lived in the country." He recalls playing
  with his cousins in the summer.
           Steven Jived with his biological father and his older sister in his early childhood,
  while his older half brother lived with their maternal grandparents. Steven has little
  memory of his father Jiving with him and his mother but he does recall being told about
  their physical and verbal altercations from his sister. Steven's most salient memories
  related to his biological father are with respect to his absence. Steven remembers that his
  lather spent almost "no time" with him. He recalls several times during his early
  childhood when he called his lather and asked him to come and "get me." He notes that
  his reasons for contacting his lather were twofold: because he wanted to spend time with
  his father and because he wanted to ·'get away'' from his mother. lie remembers that
  some of the ·'saddest" times in his childhood were when he would be expecting his father
  to '·come get me." He recalls waiting '·all day'' multiple times. He specifically
  remembers a time that he waited outside of his house with a "red, Care Bear suitcase."
  He recalls feeling sad and crying ''when I was little" and his father wouldn't come for
  him. He notes that he learned not to become so upset about this as he grew older and that
  he ''tried not to care.'' He rep011ed that his father became "almost like a stranger not my
  dad." When asked if his efforts not to care about his father's absence worked, he said
  "sort of."
           When asked to identify positive male role models in his life, Steven rep011ed a
  close relationship with his maternal grandfather, who died when he was young. He also
  reported some positive aspects of his relationships with his mother's brothers, pm1icularly
  "Abram.'' Steven described some positive aspects of his relationship with his stepfather,
  Romero. He recalls doing some positive activities with him (e.g .. fishing and hunting).
  While there were some positive aspects of this relationship, Romero physically harmed
  him. While Steven described these "punishments'' as ''not as bad as my mother," he does
  note that some of these punishments were at the "demand" of his mother. Steven recalls
  fighting including "shouting," "yelling," "cursing" between his mother and Romero," and
  times when his mother would "try to push or hit'' Romero. For a period of time during
  Steven's childhood, Romero was incarcerated and his mother would leave Steven to visit
  Romero. Steven also reported that his mother had multiple ''boyfriends'' some of whom
  lived with them. He rep01ted that his mother allowed one of them, Jimmy. "to whoop
  me." He notes that Jimmy ·'hit hard," and that when Jimmy was living with them, he
  tried to spend as little time at home as possible. Another of his mother's boyfriends,
  Gerome, was in college at the time his mother was dating him. Steven notes that Gerome
  was "20" and "she was 40.'' He describes that his mother would "do stuff for [Gerome]
  but not for us'' such as ''feed him" and "buy things tor him but not us." Thus, Steven did
  not have a consistent and positive male role model during his childhood and adolescent



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  development. In addition, some of the male role models in Steven's life when he was
  growing up were verbally and/or physically aggressive towards Steven and his mother.
           When asked about his relationship with his mother, Steven reported that she could
  be nurturing ''sometimes," noting that she would buy things for him and for his sister
  including shirts and shoes. He also reported that she maintained some employment
  during his childhood: ''she had jobs.'' He also noted that she "got us things at our
  birthdays or at Christmas, sometimes." Steven also reported as a positive aspect of his
  relationship with his mother that ''she left me alone to do a lot ofthings," such as riding
  his bike, going outside or going around the neighborhood. When I asked if he thought
  this had really been a good thing for him, he noted that "at the time I thought so" but that
  when he thinks about it now he realizes that it was "not really so good." Steven reported
  that his mother liked "to party'' and that. between work and "going out,'' she often left
  him alone without supervision, requiring him to take care ofhimself(e.g., cook tor selt)
  unless his sister was home to care of him or he sought assistance ti·om his grandmother or
  an aunt or uncle. if possible. He reported that his mother would frequently become angry
  with him, often yelling at him, and frequently punishing him physically. Steven
  acknowledges that there were times when the violence was in response to bad behavior.
  However. he reports that there were other times when he could not understand why his
  mother abusive towards him or times when the punishment was disproportionate to the
  event. Although Steven was not inclined to describe his mother's behavior as ''abuse;·
  based on his description and the description provided by his sister, it was clear that
  Steven was physically and emotional abused during his childhood (see below). When
  Steven was approximately twelve years old, his mother moved from Ada, Oklahoma, to
  Texas. He did not move with her. During this time. he appears to have lived in multiple
  locations including with his older brother, Timothy, and possibly with his father or other
  relatives. None of these living arrangements appears to have been stable. At this point in
  his life, he had already become involved in the legal system (see below). It appears that
  there were two times when he was mandated by the court to stay at a youth shelter in
  Ada, Oklahoma, and was ultimately being placed in the custody of the Oklahoma
  Department of Youth Services (DYS). After he was released from DYS. he eventually
  joined his mother in Texas and attended at least part of a year of middle school in Texas.
  Ultimately, however, he was placed in the custody of the Texas Youth Services (TYS)
  where he primarily remained between the ages of 14 and 18.
  Steven's School/Academic Functioning in Childhood/Adolescence
          From a young age, Steven's school experience and academic functioning was
  marked by behavioral and psychological problems manifested in the classroom, as well
  as inconsistent academic performance that included variability in grades, and academic
  achievement levels that were consistently below what would be expected from a child
  with his level of intelligence/aptitude. In both elementary school and middle school
  intelligence testing indicated low average to average aptitude with discrepancy in abilities
  marked by higher scores on the performance scales of the assessment as compared to the
  verbal component of the assessment. On multiple instances his academic achievement
  testing indicated below average achievement for his age. In 1994, his achievement scores
  ranged between the 8'11 and 36'11 percentile. In 1995, they ranged between the 18'h and 36'11
  percentile. In 2000, his academic achievement scores ranged between the I st percentile


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   and the 18 111 percentile. The assessment conducted in 2000 found a need tor remediation
   in both math and reading and found that "Steven may do better on mechanical. artistic or
   creative tasks than standard school subjects. The long-term focus should be on guidance
   to develop interests consistent with his strengths, and not solely traditional academic
   achievement'" There are inconsistent records of Steven's grades, but the available data
   suggest that his grades were highly variable with some periods of good performance
   including As and Bs and other times when he made poor grades and failed tests. It seems
  that, at least in elementary school, his performance was improved when he was on a
   steady and adequate dose of his stimulant medication (prescribed tor ADHD). l-Ie
   appears to have attended multiple schools tor both elementary and middle school. likely
  due to the numerous family moves. As Steven became older, he began to miss school
   because of family instability and legal problems. A record written by his juvenile
  probation officer. Ronnie Meeks, indicated that Steven missed much of his second
  semester of6' 11 grade because of legal problems and his mother's move to Texas.
   However, it also appears that he was able to stabilize to some degree while in a
  residential program. Steven's records in September 2000. note that he would be enrolled
  in "'special ed. 7111 grade classes with modification and support,'' noting weaknesses in
  multiple areas including spelling, written language, and interpersonal skills. This note
  indicates, that Steven seems to be showing some accountability for his actions and is
  'following simple instructions better."". Records indicate that Steven enrolled in the 8111
  Grade in Texas and appeared to be doing well at first, including possibly playing football.
  Records of his grades from that time reflect mixed academic performance. He began to
  have trouble at school and was sent to an alternative school. Of note, when a Texas
  juvenile caseworker assessed him, she indicated that Steven's mother reported that she
  was unaware of his problems in school, but she did rep011 other behavioral problems such
  as Steven taking her car without permission.
           There are several indications in his record that Steven was enrolled in "special
  education" or "learning disabled'" classes in both elementary and middle school. School
  records from elementary school indicate multiple attempts for the school to communicate
  with the mother, with limited responsiveness trom her. In August 1995, a note addressed
  to ·•parents" indicated, "I have sent 2 notes plus one behavior report. As of yet I have
  received no response." Behaviors reported in notes sent to parents include aggression
  and anger towards other children and teachers, failure to follow directions, and
  disrespectful behaviors. The notes also indicate some positive aspects of Steven. For
  example: "Steven is a very sweet boy when he chooses to be, however today was a very
  difficult day.'' The records also show several notes from the teachers to Steven's
  counselors, written in 1994. One reads,"! am Steven's L.D. [learning disabled) teacher.
  Steven is a very delightful child and I care about him a lot. I have been concerned about
  the behavior change that has taken place in the last few weeks. He has become moody,
  angry, and at times violent towards others and myself." The note also indicates "because
  ofthe way he [is] expressing his anger, I am having to use the ·'time out room.'' It ends.
  "please give me any suggestions you may have as to how I can better serve Steven. He's
  really a super young man and I want to do all that I can." Another note written in January
  of that same school year reports that Steven's behavior had "grown steadily worse" and
  "he has become extremely moody, disrespectful and violent within the classroom" and
  also that ''Steven "s mood can change from pleasant to violent within a matter of minutes.

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  If I ask him to complete a task or activity, he often throws his pencil, destroys the work or
  kicks and hits the wall. But in minutes he may be eagerly working on something else."
  The note indicates that his behavior is disruptive to the classroom and that she has had to
  remove him from the classroom to maintain safety. It also appears that his elementary
  school teachers attempted to refer him to a classroom for "severely emotionally disturbed
  children.'' However, it does not appear that his referral was approved. In tifth and sixth
  grade, Steven began to have involvement with the legal system.
           Steven's report of his education and experience of school includes memories of
  having behavioral problems in school noting that he ·'got in trouble'' and "tought with
  teachers and kids." He recalls that "sometimes" he was ''pretty good" at school, but that
  this was not always the case. He reports he could perform better in school ''when I could
  focus." When asked about his variability in focus, he noted that one factor that
  contributed to his performance was "what was going on at home,'' and another was
  whether or not he was given his medications consistently. With respect to medications tor
  ADHD, he also says, ''its hard to remember.'' He does recall that his mother didn't
  always keep him on his medications. in part because she thought that it might have
  contributed to some of his problems with sleep. When asked about how events at his
  home impacted his school performance, Steven described school as a "mixed blessing" in
  that it was good because he was away from his mother but bad because when he got into
  trouble at school, he would be disciplined by his mother when he came home. He does
  recall being in a "special classroom" in elementary school, ''one filled with kids like me."
  In these classrooms he was not allowed to get away with "as much stuff' because they
  "watch you more." He also reports that they could "make you" sit down and "hold you"
  and that there was a room he was placed in with ''carpet on the walls" that was "kind of
  like a closet" which he was sent to when he unable to control his emotions. He would
  remain in this time-out room until he calmed down. He remembers going to this room
  often, "way more than one lime." He reports that at first when he was placed in this room
  he was ·'scared,'' but that with time he "got used to it." He reports that "when mom was
  home" she would help him with his homework. When I asked him how she helped him
  he said, "she told me to do it before 1 could play" but that she did not explain his
  homework to him or assist him in completion of his homework. She also did not check
  his work for accuracy and he acknowledges that there were times when he would
  complete his homework quickly, but not necessarily accurately, in order to play, stating
  that"! just did it fast to go out and play."
          He reports that as he became older his education was more disrupted by his legal
  problems and time spent in juvenile corrections facilities. He reports there were classes
  in these facilities but that "there was a lot going on." He reports that he wanted to
  graduate from high school but was not able to. The reviewed records are unclear about
  his final educational status with some places indicating that he earned his high school
  degree (often reported by Steven) and others indicating that he completed aGED. It
  appears that some of Steven's memories of middle school and his attempts to attend high
  school are a little more wishful than realistic. He reports that he played football in
  middle school in Texas. The records indicate that he may have been on the team at one
  point but that he did not remain in school for long before being sent to an alternative
  juvenile facility. It is most likely that his academics/behavioral/legal problems would
  have prohibited him from remaining on the football team. Steven's friend and the

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